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                EXHIBIT 1
       Plaintiffs’ Motion for Relief from
       Nondispositive Pretrial Order of
      Magistrate Judge Regarding Expert
       Disclosure and attached exhibits
                 (ECF No. 303)
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 8                            IN THE UNITED STATES DISTRICT COURT
 9                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
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11      IN RE: SOCIAL MEDIA ADOLESCENT           Case No. 4:22-md-03047-YGR
        ADDICTION/PERSONAL INJURY
12      PRODUCTS LIABILITY LITIGATION            MDL No. 3047

13                                               Honorable Yvonne Gonzalez Rogers

14      This Document Relates to:                PLAINTIFFS’ MOTION FOR RELIEF
                                                 FROM NONDISPOSITIVE PRETRIAL
15      ALL ACTIONS                              ORDER OF MAGISTRATE JUDGE
                                                 REGARDING EXPERT DISCLOSURE
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 1            Pursuant to Federal Rule of Civil Procedure 72(a) and Civil Local Rule 72-2, Plaintiffs

 2     respectfully seek relief from Section 7.6 of the Protective Order (“PO”) entered by Magistrate

 3     Judge Thomas S. Hixson.1 Dkt. 290; see also Dkt. 289 (associated Discovery Order). Plaintiffs

 4     ask the Court to find that Judge Hixon erred in requiring advance disclosure of experts to whom

 5     the Parties intend to provide material designated Highly Confidential. See Dkt. 290 at 13–14.

 6            Plaintiffs in the MDL and JCCP have been coordinating to ensure efficiency, avoid

 7     duplication, and reduce costs, including as to experts. These efforts will be significantly impeded

 8     if Section 7.6 is allowed to stand, in part because Judge Kuhl has indicated (correctly) that early

 9     disclosure of experts is not allowed under California state law. Advance disclosure also invades

10     attorney work product. Accordingly, Plaintiffs ask the Court to strike Section 7.6 and replace it

11     with Plaintiffs’ requested provision that prohibits disclosure of highly confidential information

12     only to individual Plaintiffs or officers, directors, and employees of the recipient, subject to

13     certain exceptions, or, in the alternative, with the language from footnote 7 to Section 7.4 of the

14     Model Stipulated Protective Order for Litigation Involving Patents, Highly Sensitive Confidential

15     Information, or Trade Secrets (“Trade Secrets MPO”).

16                                              BACKGROUND
17            On March 17, 2023, the Parties submitted competing proposed protective orders to

18     Magistrate Judge Hixson. See Dkt. 192; see also Dkt. 111 (CMO No. 3) at 6–7. Plaintiffs

19     submitted a proposal largely consistent with the Stipulated Protective Order for Standard

20     Litigation (“Standard MPO”). Defendants asked Judge Hixson to adopt the Trade Secrets MPO or
21     even more restrictive language. Specifically, Defendants sought a provision preventing Parties

22     from disclosing Highly Confidential material to a retained expert unless the party first identifies

23     and provides extensive information about that expert to the designating party (including

24     information that goes beyond the Trade Secrets MPO).2 While the provision technically applies to

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         Plaintiffs note that Section 7.6 does not apply to Parties’ source code, which the Parties will
       address in a separate order.
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27       Under the proposal advanced by Defendants and adopted by Judge Hixson, a party is required to
       disclose “any patents or patent applications in which the Expert has a pecuniary interest, is
28     involved in maintaining or prosecuting, or is listed as an inventor or applicant,” a requirement that
       does not exist under the Trade Secrets MPO.
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 1     all Parties, as a practical matter it only burdens Plaintiffs: the “Highly Confidential” designation

 2     applies only when disclosure would create risk of competitive harm, a consideration that does not

 3     apply to Plaintiffs, who are adolescents and/or their families. E.g., id. § 7.6. (The PO provides

 4     that protected health and educational information—the type of sensitive information Plaintiffs

 5     expect to produce—is designated “Confidential,” not “Highly Confidential.” Dkt. 290 § 7.3.)

 6            On April 10, 2023, Judge Hixson heard the Parties’ disputes regarding the PO. Stating that

 7     he was using the Trade Secrets MPO as the “presumptive starting spot,” Dkt. 247 at 7:19–8:3,

 8     Judge Hixson agreed with Defendants’ proposal requiring advanced disclosure of experts, id. at

 9     39:3–40:1. Following the hearing, the Parties met and conferred about remaining issues, including

10     early expert disclosure. During this time, Judge Kuhl, who is overseeing the parallel JCCP,

11     expressed concern that the MDL PO may require early disclosure of non-testifying experts, given

12     her view that such a provision would violate California law. See Ex. A (5/3/23 JCCP Tr.) at 8:3–

13     6; Hernandez v. Superior Court, 112 Cal. App. 4th 285, 297–98 (2003).

14            On May 12, 2023, the Parties submitted their positions on the remaining disputes, with

15     Plaintiffs requesting that Judge Hixson reconsider his inclination to adopt Defendants’ early

16     expert disclosure provision. Dkt. 271. On May 18, Judge Hixson issued a tentative ruling

17     imposing the provision. Dkt. 284 at 3–4. The Parties then submitted a proposed PO in line with

18     Judge Hixson’s tentative ruling, while reserving their rights to object. Dkt. 287. On May 22,

19     Judge Hixson issued a final Discovery Order on the PO (Dkt. 289) and entered the PO (Dkt. 290)

20     with Section 7.6 requiring advanced disclosure of experts who access material designated as
21     Highly Confidential. Plaintiffs object to the relevant parts of these Orders.

22                                            LEGAL STANDARD
23            The Court may modify or set aside a magistrate judge’s nondispositive order if it is

24     “clearly erroneous or contrary to law.” Fed. R. Civ. P. 72(a). This Court reviews the magistrate

25     judge’s legal conclusions de novo, and it reviews factual findings for clear error. Guidiville

26     Celgard, LLC v. Shenzhen Senior Tech. Material Co., WL 19977072, at *1 (N.D. Cal. Sept. 27,
27     2022). A nondispositive order is clearly erroneous if “the court is left with the definite and firm

28     conviction that a mistake has been committed.” Id. An order is contrary to law if it “applies an

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 1     incorrect legal standard or fails to consider an element of the applicable standard.” Id.

 2                                                 ARGUMENT

 3     I.      Plaintiffs should not be required to provide advance disclosure of their experts.
 4             Judge Hixson clearly erred by adopting Defendants’ early expert disclosure provision

 5     without a justification for imposing this restriction. The Trade Secrets MPO is an “extremely

 6     restrictive type of protective order.” Johnson v. City and County of San Francisco, 2011 WL

 7     13377688, at *1, *3 (N.D. Cal. Feb. 9, 2011). This case is a mass tort case alleging products

 8     liability, not a case over “patents and trade secrets,” where courts in this District typically impose

 9     it. Id. at *1. And the animating concern behind the Trade Secrets MPO—that one party should not

10     be able to sue another for breach of its intellectual property rights and thereby gain unfettered

11     access to carefully guarded secrets—is not present here.3

12             Judge Hixson nonetheless ordered Plaintiffs to disclose their consulting experts—and their

13     testifying experts—in advance because he reasoned that “Defendants are entitled to know who

14     has their stuff” (Dkt. 289 at 3). While every party would like to know who the opposing party’s

15     experts are in every litigation, there is a reason that the Federal Rules do not impose an early

16     disclosure: such a requirement would “effectively” and improperly “allow the Defense to vet” all

17     of Plaintiffs’ experts. Johnson, 2011 WL 13377688, at *2. Courts generally decline to intrude on

18     litigants’ strategic decisions and create additional burdens in this manner. See, e.g., Corley v.

19     Google, Inc., 2016 WL 3421402, at *3 (N.D. Cal. June 22, 2016) (“the identities of non-testifying

20     experts . . . is ‘central to lawyering strategy’”; “[v]irtually any large company could assert in each

21     of its pending civil cases . . . that non-testifying experts might misuse confidential information”;

22     “it will be significantly more difficult for Plaintiffs to retain qualified non-testifying experts if

23     those experts are not permitted to remain anonymous”); Todd v. Tempur-Sealy Int’l, Inc., 2015

24     WL 433481, at *4 (N.D. Cal. Feb. 2, 2015) (early expert disclosure “potentially invades the

25     attorney work product doctrine and removes [a party’s] ability to have non-disclosed consulting

26     experts”); see also Burt v. AVCO Corp., 2015 WL 12912366, at *4 (C.D. Cal. Nov. 17, 2015) (it

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         See, e.g., Bayside Sols., Inc. v. Avila, 2022 WL 3215010, at *2 (N.D. Cal. Aug. 9, 2022)
28     (imposing Trade Secrets MPO in misappropriation case because “the disclosure of [plaintiff’s]
       trade secrets and confidential business information…could result in competitive harm”).
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 1     “would be contrary to law” to “permi[t] Defendants to discover the identity of Plaintiffs’

 2     consulting experts). Judge Hixson erred by ignoring these harms.

 3            Importantly, although Defendants’ apps contain highly sensitive source code that may be

 4     subject to discovery, the Parties agreed to deal with source code via a separate order,

 5     contemplating additional restrictions for it. Thus, the information subject to the Highly

 6     Confidential designation under this PO will be information Defendants are likely to designate but

 7     which does not require unusually restrictive protections, such as marketing plans, financial

 8     documents, and similar documents disclosed in a wide variety of cases. There is no reason to

 9     impose burdensome restrictions on such non-source code information. See Corley, 2016 WL

10     3421402, at *3 (recognizing that source code is different).

11            Indeed, the Trade Secrets MPO implicitly recognizes that not every trade secret case calls

12     for such an intrusion on litigation strategy. That MPO contains an alternative provision that

13     allows disclosure of highly confidential material “without disclosure of the identity of the Expert

14     as long as the Expert is not a current officer, director, or employee of a competitor of a Party or

15     anticipated to become one.” § 7.4 n.7. This “optional court-authored provision . . . is

16     presumptively valid.” Corley, 2016 WL 3421402, at *3. Although Plaintiffs as well as Snap said

17     they would be amenable to this provision (Dkt. 192 at 5; Dkt. 271 at 3), Judge Hixson did not

18     address this presumptively reasonable alternative, nor rulings in other cases involving software

19     defendants that have found it sufficient to protect parties’ highly confidential, non-source code

20     material. See Corley, 2016 WL 3421402, at *3; Stark v. Patreon, Inc., No. 22-cv-3131 (N.D. Cal.
21     Aug. 23, 2022), Dkt. 29. This alternative from the Trade Secrets MPO would protect Plaintiffs’

22     work product while ensuring Defendants’ most sensitive information remains guarded.

23            Given these significant concerns and the lack of justification for advance expert disclosure

24     here, the Court should overrule Judge Hixson’s imposition of Section 7.6 and instead adopt

25     Plaintiffs’ proposal or, in the alternative, footnote 7 to Section 7.4 of the Trade Secrets MPO.

26     II.    Requiring early disclosure of experts will impede MDL-JCCP coordination.
27            Imposing Section 7.6 of the PO is also clearly erroneous because it does not consider that

28     the early expert disclosure requirement will interfere with coordination between the MDL and

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 1     JCCP. Counsel for MDL Plaintiffs are actively coordinating with plaintiffs in the parallel JCCP to

 2     efficiently prosecute their actions, including by sharing experts. See Jack B. Weinstein & Eileen

 3     B. Hershenov, The Effect of Equity on Mass Tort Law, 1991 U. Ill. L. Rev. 269, 289; see also

 4     Manual for Complex Litig. (Fourth) § 20.313.

 5             The PO as entered, however, would make it highly impractical to pursue this coordination

 6     and achieve these efficiencies with regards to experts. This is because, as Judge Kuhl indicated

 7     during the May 3 JCCP status conference, California law does not “allow[] the identity of a

 8     nondesignated expert to be required to be disclosed to a party opponent.” Ex. A at 8:3–6; see

 9     Hernandez, 112 Cal. App. 4th at 297–98 (experts’ identity “remains privileged until they are

10     designated as trial witnesses”) (emphasis added). With this PO provision in place, either the JCCP

11     plaintiffs will have to disclose their experts early (contrary to what Judge Kuhl indicated

12     California law permits) or Plaintiffs will be severely hampered in coordinating efforts (because

13     they will be limited in their ability to share experts). This catch-22 is unnecessary, particularly

14     because other provisions in the PO adequately protect Defendants from competitive harm, and the

15     separate source code order will contain enhanced protections. Plaintiffs also offered to agree to

16     adopt Judge Kuhl’s suggestion that Parties submit in camera their experts’ agreements to be

17     bound by the Protective Order. Ex. B (3/22/23 JCCP Tr.) at 12:24-27, as well as the

18     “presumptively valid” language from footnote 7 to Section 7.4 of the Trade Secrets MPO, also

19     favored by Defendant Snap. It was clear error to ignore the real and serious harms to Plaintiffs’

20     ability to prosecute their case efficiently, especially in light of these reasonable alternatives.
21                                                CONCLUSION
22             Plaintiffs respectfully ask the Court to replace Section 7.6 of the PO with Plaintiffs’

23     requested provision or, in the alternative, footnote 7 to Section 7.4 of the Trade Secrets MPO.

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 1           Dated: June 5, 2023           Respectfully submitted,

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       document has been obtained from each signatory hereto.
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       DATED:        June 5, 2023                          By: /s/ Lexi J. Hazam
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 FIWYFQMXXIHXS.YHKI+SR^EPI^6SKIVWERHWLI PPHSSRI
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 WE]]SYORS[8LIQEKMWXVEXINYHKILEWIRXIVIHXLI
 SVHIVERHMXHSIWVIUYMVIHMWGPSWYVII\TIVXWREQIW
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 XLIMWWYISVNYWXWE];I HPMOIERMRJSVQEP
 GSRJIVIRGI[MXLXLI'SYVXXSHMWGYWWLS[XLIMWWYI
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 GERFIJMPIHERHWSMX[SYPHLEZIXSFIIMXLIV]SY
 ORS[EREKVIIHPIRKXLNSMRXWXEXIQIRX[LIVIIEGLWMHI
 LEWMXWTSVXMSRSJXLINSMRXWXEXIQIRXSVWMQYPXERISYW
 FVMIJMRKF]IEGLWMHISREREKVIIHPIRKXL 8LIVI WE
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 ORS[XLEX[ILEZILEH-XLMROWYGGIWWHSMRKWMQMPEV
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 TVEGXMGISFZMSYWP]XLIETTIPPEXIGSYVXWMRTEVXMGYPEV
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 WXE]JVSQXLI7YTVIQI'SYVXSJ'EPMJSVRME[MXLXLMW
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 [LIVIMXWIIQWPMOIIZIV]FSH] WEKVIIHXSWMQYPXERISYW
 FVMIJWERHERMRJSVQEPTVSGIWWERHXLIRTISTPIWE]
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 QSXMSRLIVIMWGSYVXHE]W[LMGLMWFEWMGEPP]E
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 GSRJIVIRGIMW]SYORS[MJ-GERKMZIEXIRXEXMZI
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 XIRXEXMZISJ]SYORS[[LEXQ]YRHIVWXERHMRKSJXLIPE[
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 YRHIVWXERHMXXLIIRXMVIHITSWMXMSR[SYPHFIXVIEXIHEW
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 [LMGL-LEZIWSQIXLMRKEHHMXMSREPXSWE]EFSYXMRE
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 JMPIXLIFVMIJGSRHMXMSREPP]YRHIVWIEP[LMGLMW[LEX W
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 SRXLITEVX][LSWIMRJSVQEXMSRMWJMPIHF]ERSTTSWMRK
 TEVX]ERHMWEVKYEFP]GSRJMHIRXMEPERHXLIRXLEXTEVX]
 LEWEKVIEXIVFYVHIRFIGEYWIXLI]LEZIXSQSZIXSWIEP
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 FYVHIRSJLEZMRKXSQSZIXSWIEP[MXLMRXIRHE]WGERKS
 XLVSYKLXLIHITSWMXMSRQSVIUYMGOP]ERHHIWMKREXIXLI
 GSRJMHIRXMEPXLISRP]TEVXWXLEXWLSYPHFI
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 EVIFIMRKJMPIHLIVIWSXLEX[SYPH-[SYPHEXXLMW
 TSMRXNYWXPIEZIXLIHE]W 8LMWMWEPWSSRISJXLSWI
 VIEPP]JSV[EVHPSSOMRKMWWYIWXLEXF]XLIXMQIMX
 EVMWIWXLITEVXMIW[MPPLEZII\TIVMIRGIH[SVOMRK[MXL
 IEGLSXLIVERH]SYQE]FIEFPIXSHIEP[MXLXLEX
 MRJSVQEPP]XSEZSMHFYVHIRSRFSXLWMHIW[LIRXLIMWWYI
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 'EPMJSVRME7YTVIQI'SYVXTVIGIHIRGIXLEXMWVIEP[MWHSQ
 EFSYXLEZMRKERSTIRGSYVXW]WXIQERHXLIMQTSVXERGISJ
 XLEXERH'EPMJSVRME6YPIWSJ'SYVXFYVHIRWSQIEW
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 WIEPMRKQSXMSRW[SYPHFIJMPIHEXXLIGSRGPYWMSRSJ
 FVMIJMRKSRER]YRHIVP]MRKQSXMSRJSV[LMGLXLIVIEVI
 QYPXMTPIWIEPMRKQSXMSRWFYX[I[SYPHRSXERXMGMTEXI
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 HIWMKREXMRKTEVX]KSIWXLVSYKLERHVIHEGXWMXMREW
 PMQMXIHREXYVIEWTSWWMFPIERHXLIRWYFQMXWMXXSXLI
 SXLIVWMHIXSKSELIEHERHTYXMRVIHEGXIHJSVQSRXLI
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 WMRGIXLIMRJSVQEXMSRMWRSXXLIMVS[RXSHIJIRHXLI
 WIEPMRKSJFYXMJ=SYV,SRSVHSIWR X[ERXYWXSXEOIE
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 JVSQHMJJIVIRXNYVMWHMGXMSRWEWSTTSWIHXSQYPXMTPI
 EVKYQIRXWJSVYWEWEHIJIRWIKVSYTXSGSQIMRQYGL
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 TPEMRXMJJWTVSTSWIHJVSQSYVTIVWTIGXMZIMWNYWXRSXE
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 MX WGIVXEMRP]EFMKFVMIJXLEX WJVSQSYVTIVWTIGXMZI
 KSMRKXSFILEVHXSVIEGLMRXIVQWSJXLIHMJJIVIRX
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 TVSTSWIHXLILYRHVIHTEKIWMWXLIGLSMGISJPE[MWWYIW
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 TSXIRXMEPP]LEZMRKXSFVMIJGLSMGISJPE[[LMGLGERFIE
 GSQTPMGEXIHMWWYIF]MWWYIUYIWXMSRXLEX[IRIIHXS
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 MRWXERGIWE]EPMWXSJVIPIZERXEGGSYRXWMRXLMW
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 VIPEXIHXSXLIWYWTIGXIH'7%1XLEXTPEMRXMJJW[SYPHLEZI
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 SJXLIQEXIVMEPMRGPYHIHMRER]SJXLIMVEZEMPEFPI
 QIXEHEXE 7SXLIVIEVI[E]WXSKSEFSYXXLMWERHHSMX
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 MRJSVQEXMSREFSYXXLI'7%1XLEX[IHSTVIWIVZI[LMGL
 WSQISJXLSWIMXIQWLINYWXQIRXMSRIH[IHSTVIWIVZI
 ERH[IXSPHLMQXLEXERH[IXSPHLMQXLEX[I PPGSQQMX
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 TVIWIVZIXLEXMRJSVQEXMSRMRGSRRIGXMSR[MXLSYVSXLIV
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 [EMZIVSJJSVQEPWIVZMGI[LMGLMWJMRIFYX]SYORS[
 MX W[LEXIZIV%XXEGLQIRXMWXSXLINSMRXVITSVX
7S[IHSR X[ERXXLIWXEJJXSLEZIXSXEOI
 XLINSMRXVITSVXETEVXERHKIXXLEXSYXERHXLIRLEZIXS
 JMPIMX 7S[LIR]SYXLI[E]SYVIPIGXVSRMGW]WXIQ

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 [SVOWMWMJMXLEWXLI[SVHTVSTSWIHSVHIVMRMXSV
 WXMTERHTVSTSWIHSVHIVMXKIXWMRXSXLI[SVOUYIYI
 FEWMGEPP]
7SJMPIXLEXEWEEWETVSTSWIHSVHIV
 SVEWEWXMTYPEXMSRERHTVSTSWIHSVHIVPIXXMRKQIORS[
 XLEXMX WEKVIIHXSF]XLITEVXMIWERHXLIRXLEXMW
 IEWMIVXSI\IGYXIXLEX[E]
(MHQ]WXEJJLEZIER]XLMRKIPWIWMRGI
 [I VIXEPOMRKEFSYXTVSTSWIHSVHIVWXLEX]SY[ERXIHXS
 PIXGSYRWIPORS[EFSYXMRXIVQWSJKIXXMRKSVHIVWXSYW#
8,)'0)6/ -XLMROXLEX WXLIQSWXMQTSVXERX
 TEVX[EWXLEXER]XLMRKQIRXMSRIHMREVITSVXERHMJ
 MX WTVSTSWIHMXRIIHWXSGSQIMRXSXLI[SVOHMKMXEPP]
 WXERHMRKSRMXWS[RWS[IGERTVSGIWWMX
8,)'3968 3OE] +SSH
-J]SYLEZIUYIWXMSRWQ]WXEJJMW
 [SRHIVJYP =SYGERGEPPXLIQFYXHSR XEFYWIXLI
 TVMZMPIKI 3OE]#
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 XYVRMRKXSXLITPEMRXMJJWWS-XEPOIHPEWXXMQIEFSYX
 XLITSWWMFMPMX]SJEGSRWIRWYEPEKVIIQIRXEQSRKGSYRWIP
,EZI]SYXVMIHXLEXERHJEMPIH#
17.)**'388 8LITVSFPIQ[ILEZI[MXLXLEXMW
 XLIVI WEPVIEH]ERSVHIVIRXIVIHMRXLI1(0XLEX[SYPH
 IWWIRXMEPP]LSPHFEGOTIVGIRXSJQSWXMJRSXEPPSJ
 XLIGEWIWXLEXEVIEPVIEH]JMPIHMRXLI.''4ERHXLEX
 [MPPFIJMPIHMRXLIJYXYVIQSWXPMOIP]
%RHWSMRSVHIVXSIWWIRXMEPP]TVIZIRXE

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 HSYFPILSPHFEGOXLEX[I[SYPHFIEFPIXSEGLMIZIMJ[I
 HMHETVMZEXIEKVIIQIRX[I[SYPHRIIHWSQIXLMRKQSVI
 JSVQEPEPSRKXLIPMRIWSJ[IFIPMIZIETEVEPPIPGSQQSR
 FIRIJMXSVHIVJMPIHMRXLIPMXMKEXMSRXLEX[SYPH
 I\TPMGMXP]WE]XLEXXLIVIMWR XKSMRKXSFIEHSYFPI
 LSPHFEGOXLEXXLIVI[SYPHR XFIETIVGIRXLSPHFEGO
 SRGEWIWXLEXEVIWYFNIGXXSER1(0EWWIWWQIRXERHEPWS
 XLEX[SYPHI\TPEMRXLEXXLIVI[SYPHFIGSSVHMREXMSR
 FIX[IIRXLI1(0ERHXLI.''4ERHXLEXXLIVIGSYPHFIRS
 HYTPMGEXMZI[SVOERHEPPSJXLIIPIQIRXWSJXLEX[I VI
 XV]MRKXSWIIOXLVSYKLGSSVHMREXMSRXLEX WEPVIEH]
 SRKSMRKMRXLIPMXMKEXMSR
8,)'3968 'ER X]SYHSXLEX]SYVWIPZIWXLSYKL#
&IGEYWI]SYGEREKVIIXSWSQIXLMRK
 [IPPQ]TSWMXMSRMWXLEXXLEXSYKLXXSFIXLIGEWIJSV
 FSXLJIHIVEPERHWXEXIGSYVXFYX-HSR XLEZIER]XLMRK
 XSHSEFSYXJIHIVEPGSYVX
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 ]SY ZINYWXWEMHERHEKVIIHXSXLIQEQSRK]SYVWIPZIW
 ERHXLIR]SYORS[-GEREWOXLEX]SYWYFQMXMXXS
 .YHKI+SR^EPI^6SKIVWERHWIIMJXLIVIMWER]XLMRKWLI
 FIPMIZIWMR]SYVEKVIIQIRXXLEX[SYPHGSRJPMGX[MXLLIV
 SVHIVW#
17.)**'388 ;IGERGIVXEMRP]XV]XLEX
-XLMROSRIGSRGIVR[ILEZIMWXLEXEW
 EHHMXMSREPGEWIWKIXJMPIHMRXSXLI.''4XLEX[I[SYPH
 LEZIXSIWWIRXMEPP]VIRIKSXMEXISVLEZIXLSWIRI[RI[
 TEVXMIWRI[GSYRWIPIRXIVIHMRXSXLIEKVIIQIRX

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 GSYRWIPFIMRKEHHIHERHMJ]SY ZIKSXEJVIIVMHIVMR
 XLIJYXYVIXLIVIEVIEPSXSJVIEWSRW[L]WSQIFSH]
 GSQMRKMR[SYPHRSXFIEJVIIVMHIVUYMXILSRIWXP]FYX
 QE]FIXLIVI[SYPHFIEJVIIVMHIV =SYGSYPHFVMRKMX
 XSXLIGSYVX
17.)**'388 =SYV,SRSV[I PP[SVOXS
8,)'3968 ;L]HSR X]SYXV]XSHSXLEX#
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-ORS[XLMWQE]WIIQPMOI[EWXIHIJJSVX
 [L]GER X-NYWXWMKRETMIGISJTETIVFYXYPXMQEXIP]
 MJ-HSR XLEZIEYXLSVMX]XS-GER XIRJSVGIMXER][E]
 WS[LIVIEWMJ]SYHSMXF]EKVIIQIRX]SYORS[MX W
 EGSRXVEGXYEPEVVERKIQIRX
%RHWSMJ]SY VIRSXEFPIXSEGLMIZIXLEX
 ]SYGERGSQIFEGOERHJMPIEQSXMSR
17.)**'388 3RIUYIWXMSR=SYV,SRSV
-J[I VIEFPIXSEGLMIZIEREKVIIQIRX
 [MPP[IFIEFPIXSWYFQMXXLEXEWWSVXSJEWXMTYPEXMSR
 WSXLEXEXPIEWX[I ZIQEHIEVIGSVHSJMX#
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 SJMX
17.)**'388 8LERO]SY=SYV,SRSV
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7SMJ]SYGER XEGLMIZIXLEX]SYGER
 FVMRKEQSXMSR
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 TVSTSWEPWSXSWTIEOERHFYXXLIR]SY PPLEZIXS
 FVMIJXLIEYXLSVMX]
8LIVIEVIEVXMGPIWF]4VSJIWWSV'LEVPIW
 7MPZIVSJXLI9RMZIVWMX]SJ8I\EWERH-XLMROLINYWX
 TSWXIHSRI -JSYRHMXSRPMRISRYRNYWXIRVMGLQIRX
 XLISV] -XLMROLI WEPVIEH][VMXXIRXLEXXLIVI WRS
 EYXLSVMX]JSVGSQQSRFIRIJMXJYRHXLISV]ERHQE]FILI W
 SYXXLIVIF]LMQWIPJSRMX
- QE[EVISJXLI[LSPILMWXSV]SJXLI
 GSQTPI\PMXMKEXMSRLERHFSSOSRXLIJIHIVEPWMHIERHXLEX
 IZIV]SRIHSIWMXFYXXLIVIMWXLEXXLIVIEVIXLSWI
 EVKYQIRXWXLEX4VSJIWWSV7MPZIVQEOIWERHQSVISZIVERH
 QSWXMQTSVXERXP]LIVI[I HLEZIXSEHHVIWWMXYRHIV
 'EPMJSVRMEPE[ ;ILEZIXSJMRHE[E]YRHIV'EPMJSVRME
 PE[
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 SRMX -[ERXXSFILIPTJYPXSEPPTEVXMIWLIVIFYX
 JSVVIEWSRW-QIRXMSRIHPEWXXMQIMXJIIPWZIV]YRIZIR
 XSQIXSFIMWWYMRKSVHIVWXSQEOIWYVIXLEXGSYRWIPSR
 SRIWMHIGERKIXTEMH
-XNYWXHSIWR XJIIPVMKLXYRHIVWXERHMRK
 LS[IZIVXLEX[LIR]SYLEZIQYPXMTPIGSYRWIP]SY ZIKSX
 XSJMRHWSQI[E]SJFIMRKJEMVXSXLITISTPI[LSEVI
 XEOMRKXLIPEFSVMRKSEV[LSEVIXLITISTPIWMXXMRK
 LIVI
17.)**'388 -XLMRO[LEX[I VIXV]MRKXS
 IWXEFPMWLMWEQIGLERMWQWSXLEX[IGERVEMWIJYRHWXS
 TYVWYIXLIPMXMKEXMSRERHEPWSEXXLIFEGOIRHQEOIWYVI

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 XLEXTISTPIEVIGSQTIRWEXIHJSVXLIMVI\TIRWIWERHXMQI
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 - ZIWEMH[LEX- ZIWEMHFYXXV]XS[SVOMXSYX
 ]SYVWIPZIWERH]SYQE]FIIWXEFPMWLMRKWSQIRI[]SY
 ORS[QIGLERMWQWJSVKSMRKJSV[EVH
%W- QWYVIIZIV]FSH]LIVIORS[WXLI
 *IHIVEP6YPIW'SQQMXXIIMWGSRWMHIVMRKXLI'MZMP
 6YPIW'SQQMXXIIWIRXXSXLI7XERHMRK'SQQMXXIIVYPIW
 EFSYXXLI1(0TVSTSWIHVYPIWF]XLI1(0ERHMXHSIW
 QEOIQIRXMSRSJXLIGSQQSRFIRIJMXJYRHXLIVI
7SMJXLEX WMJXLSWIEVIETTVSZIH
 [LMGL[SVOWXLIVYPIWGSQQMXXIIW[SVOZIV]WPS[P]
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 XSXLEXERHWE]XLEX WXLIEYXLSVMX]JSVMXERHQE]FI
 MXMW ;I PPWII[LEXXLI]HS
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     TLSRIXMG XSXLITPEMRXMJJW WXIIVMRKGSQQMXXIIWSMJ
 ]SY PPNYWXJMPIETVSTSWIHSVHIVSRXLEXMRXLEX
 VIKEVH#
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 LIPTJYPP]PMWXIHMRXLINSMRXVITSVXTPYWXLISRIGEWI
 XLEX[EWQIRXMSRIHMRXLI'EWI%R][LIVITSWXMRKEWSRI

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 ]SY ZIVIGIRXP]EKVIIHWLSYPHFIMRGPYHIHMRXLI.''4
 - ZIGSRWYPXIH[MXLQ]GPIVOERH[IXLMROMX WFIXXIV
 XLEXXLIGPIVO WQMRYXISVHIVXSHE]NYWXEHHXLSWIGEWIW
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 W]WXIQWSPIXYWXV]XLEXERHXLIR]SYHSR XLEZIXS
 WYFQMXEWITEVEXITVSTSWIHSVHIV 3OE]#
17.)**'388 8LERO]SY=SYV,SRSV
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 EPPS[MRKTPEMRXMJJWXSFIREQIHF]XLIMVTWIYHSR]QW-
 HMHRSXIRXIV[LEX[EWKMZIRXSQIERH-VIEPP][ERXIH
 WSQIQSVISRXLEX
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 TPEMRXMJJW[LSEVIRSXQMRSVWFYX[LSEVIEPPIKMRK
 WI\YEPEFYWIFIGEYWI-XLMROXLSWIEVITVIXX]QYGL
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 XLMRO]SYGERWE]XLEXXLIVIMWKSSHGEYWIERHMJ]SY
 HMHR XQMRHPSSOMRKJSVEGEWIEFSYXXLIMWWYISJXLI
 QMRSVW-XLMROMWZIV]GPIEVERHXLI[LSPIHITIRHIRG]
 W]WXIQSTIVEXIWXLEX[E]FYXXLIMWWYIEFSYXEHYPXWERH
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 VIUYMVIXLIQXSFIJMPIHWITEVEXIP]EPXLSYKLXVYWXQI
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 TVSTSWIHSVHIVSVMWXLITVSTSWIHSVHIVJVSQXLINSMRX
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8,)'3968 1MRSV WGSQTVSQMWIW[MPPEXWSQI
 TSMRXMJXLIWIGEWIWEVIVIWSPZIHGSRWIRWYEPP]FIE
 FMKMWWYIRSUYIWXMSREFSYXMXFYX-XEOI]SYVTSMRX
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 6IUYIWXJSV(MWQMWWEPERH4VSTSWIH3VHIVSOE]ERH
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 GSRJIVIRGI (S]SYLEZIER]WYKKIWXMSRW#
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 TVSGIIHMRXSQ]XVMEP[LMGLMW[L]-QSZIHMXXSXLI
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 SRZEVMSYWMWWYIW-XLMROXLEX[SYPHTVSFEFP]WIVZIXS
 EHHVIWWXLIQSWXMQQIHMEXIMWWYIWXLEX[I VIGYVVIRXP]
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 7XEXISJ'EPMJSVRMEJSVXLI'SYRX]SJ0SW%RKIPIWHS

 LIVIF]GIVXMJ]XLEX-HMHGSVVIGXP]VITSVXXLI

 TVSGIIHMRKWGSRXEMRIHLIVIMRERHXLEXXLIJSVIKSMRK

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 EPIZI                        EVKYIH                        FIRIJMGMEP 
 EPPIKEXMSRW                  EVKYQIRX                      FIRIJMX 
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 EPXIVREXMZIW                 EWWIWWQIRX                     FSEVH 
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 %QIRHQIRX                    EWWSGMEXI              FVMIJIH 
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 GLERGI                                                              GSRJIVVIH 
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 GPEVMJ]                                                             GSRXIQTPEXMRK 
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                                                                            HIEHPMRI 
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 GSRXMRYIH                                                             
                                       
 GSRXMRYMRK                                                           HIEP 
                                       GSYVXIW] 
 GSRXVEFERH                                                 HIEPMRK 
                                       GSYVXVSSQ 
 GSRXVEGXYEP                                                          HIEPX 
                                       GSYVXW 
 GSRXVEV]                                                              HIGMHI 
                                       GSZIV 
 GSRXVSPPMRK                                                          HIGMHIH 
                                       GSZIVIH 
 GSRZIVWI                                                               HIGMWMSR 
                                       GSZIVMRK 
 GSSVHMREXI                                                            HIGMWMSRW 
                                       'SZMRKXSR 
 GSSVHMREXIH                                                      HIGPEVEXMSR 
                                       GVIEXI 
 GSSVHMREXMRK                                                         HIJIRH 
                                       GVIEXIW 
 GSSVHMREXMSR                                               HIJIRHERX 
                                       GVIEXMRK 
                                                                    
                                       GVIHMFMPMX] 
 GSTMIW                                                               HIJIRHERX W 
                                       'VIIH 
 GSVVIGX                                                    HIJIRHERXW 
                                       
                                                                            
 GSVVIGXP]                 
                                                                            
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 GSVVIWTSRH                                                           
                                       GVMQMREP       
 'SYRGMP                                                   
 GSYRWIP                                           
                                       'VMXMGEPP] 
                                            
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                                                                            HIJIRHERXW 
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 GSYRX                            HIJIRWI 
 GSYRXIV                       
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 GSYRXMRK                                                              HIJIV 
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 GSYRXV]                                             (IKX]EVIZE 
 GSYTPI                     '76                              HIPIXI 
 GSYVX          GYVVIRX         HIPIXIH 
        
                                                                            HIPIXMSR 
  
                         (                 HIQYVVIV 
                                            
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  
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      HEXE 
                    ()4%681)28 
  
                                       HEXI    HITIRHIRG] 
  
                                     HITIRHMRK 
     HEXIW 



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73'-%01)(-%'%7)7                                                                                   138-32
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 HITSWMXMSR         HMWGSZIV] W                  IJJIGX 
  
                                     HMWGVIXMSR                   IJJIGXMZIP] 
 HITSWMXMSRW 
                                     HMWGVMQMREXMSR                IJJSVX 
 HIWGVMFI 
                                     HMWGYWW         IJJSVXW 
 HIWGVMTXMSR      
                                                                        IPEFSVEXI 
  
                                     HMWGYWWMRK 
                                                                        IPIGXVSRMG 
 HIWGVMTXMSRW                   
                                                                        
 HIWGVMTXMZI                   HMWGYWWMSR 
                                                                        IPIGXVSRMGEPP] 
 HIWMKREXI            HMWGYWWMSRW 
                                                                        IPIQIRXW 
 HIWMKREXMRK                    HMWQMWW 
                                                                        IPMQMREXIH 
 HIWXVS]                       HMWQMWWEP 
                                                                        IPWI W 
 HIWXVS]IH     HMWTYXI 
                                                                        IQFIHHIH 
  
                                     HMWTYXIH 
                                                                        )QMP] 
 HIWXVYGXMSR 
                                     HMWTYXIW 
                                                                        )QQIP 
 HIXEMP 
                                     HMWXMRGXMZI 
                                                                        IRGSYVEKI 
 HIXEMPW 
                                     (MWXVMGX 
                                                                        IRH 
 HIXIGX 
                                     HSSZIVW 
                                                                        IRJSVGI 
 HIXIGXIH 
                                     HSGYQIRX 
                                                                        IRJSVGIQIRX 
 HIXIVQMRI                 
                                                                        
 HIXIVQMRIH               HSGYQIRXW 
                                                                        IRKEKIH 
                                      
 HIZMEXMSR 
                                                                        IRNS] 
                                     (SRELYI 
 HMGXEXI 
                                                                        IRNS]W 
                                     (323,9) 
 HMJJIVIRGI 
                                                                        IRVMGLQIRX 
                                     HSYFPI 
 HMJJIVIRGIW 
                                                                        IRWYVI 
                                     HSYFX 
 HMJJMGYPX 
                                                                        IRWYVMRK 
                                     HS[RWMHIW 
 HMKMX 
                                                                        IRXIV 
                                     HVEJX 
 HMKMXEPP] 
                                                                   IRXIVIH 
 HMVIGX                                                     
                                     (VMROIV 
 HMVIGXP]                                                    IRXIVMRK 
                                     HYTPMGEXIW 
 HMWEKVII                                                     IRXIVW 
                                     HYTPMGEXMZI 
 HMWEKVIIQIRXW                                                     IRXMVI 
 HMWGIVR                                         )                IRXMVIX] 
 HMWGPSWIH                                                    IRXMX] 
                                     IEVPMIV 
 HMWGPSWYVI                                                   IRZMWMSR 
                                     IEVP] 
 HMWGPSWYVIW                                                 IRZMWMSRMRK 
                                     IEWMIV 
 HMWGSZIV]                                        ITLIQIVEP 
     IHMX 
                                                                        IWWIRXMEPP] 
                          IHMXIH                       




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 IWXEFPMWL                                                           JSPPS[ 
                                                      *
 IWXEFPMWLMRK                                                   JSSXRSXI 
 IZEPYEXI                       JEGX        JSVIGPSWMRK 
 IZEPYEXMSR                        JSVQ 
                                              
 IZIRP]                         
                                                                     JSVQEP 
 IZIV]FSH] W 
                                     JEGXW                      JSVQW 
 IZMHIRGI 
     *EIKVI                         JSV[EVH 
                                                                     
                                     JEMPIH 
 I\GIPPIRX                                                           JSV[EVHPSSOMRK 
                                     JEMV 
 I\GITXMSR                                             JSYRH 
                                JEPP 
                                                                           JVII 
 I\GITXMSRW                     JEPPW 
                                                                           *VMHE] 
 I\IGYXI                        JIEXYVIW 
                                                                           JYPP 
 )\LMFMX                       JIHIVEP 
                                          JYPP] 
 I\LMFMXW                               JYRH 
 I\TIGX                         
                                                                           JYRHW 
 I\TIGXEXMSRW                  JIIH 
                                                                           JYXYVI 
 I\TIHMXIH                     JIIP 

 I\TIRWIW                       JIIPW                                             +
 I\TIVMIRGI     JMKYVI 
                         JMPI    KIRIVEP 

 I\TIVMIRGIH                         KIRIVEPP] 
                                      
 I\TIVMIRGIW                                                         KIRIVEXIH 
                                     JMPIH 
 I\TIVX                               +ISVKME 
                                              KIXEPP
 I\TIVXW 
                                      
 I\TPEMR                                              KMZI 
                                     JMPIW                           
 I\TPEMRIH 
                                     JMPMRK        KMZMRK 
 I\TPEREXMSR                    
                                                                           KPEH 
 I\TPMGMXP]                     JMPP 
                                                                           KPSFEP 
 )\TPSMXIH                   JMPPIH 
                                                                           KSEP 
 I\TVIWWIH                      JMREP 
                                                                           +SR^EPIW 
 I\TVIWWP]                     JMRH 
                                                                           +SR^EPI^ 
 I\XIRWMZI                      JMRI     
                                      
 I\XIRX                                             KSSH 
                    JM\IH                           
 I\XVE                         JPEK                            
                                                                           
 I\XVIQIP]                     JSGYW                           




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73'-%01)(-%'%7)7                                                                                   138-32
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 +SSKPI           LMWXSV]                    MQTSVXERGI 
 KSZIVR                          LSPH                 MQTSVXERX 
 KSZIVRMRK                      LSPHFEGO                       MQTSVXERXP] 
 KVETTPI                  LSPIW                        MQTSWI 
 KVIEX             ,32                               MQTVEGXMGEFPI 
 KVIEXIV                   LSRIWXP]                         MREHZIVXIRX 
 KVMTW                          ,SRSV       MRGPYHI 
                                     
 KVSYRH                                                              MRGPYHIH 
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 KVSYT                             MRGPYHIW 
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 KYIWW                         
                                                                           MRGPYHMRK 
 KYMHERGI              MRGVIHMFP] 
                                
                                           MRHIJMRMXIP] 
                                           MRHMZMHYEP 
                  ,                         
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 LEPJ                               MRHMZMHYEPP] 
 LERH                           ,SRSV W               MRHMZMHYEPW 
 LERHFSSO                      LSTI                      MRJSVQ 
 LERHPI                   LSYWIOIITMRK                     MRJSVQEP 
                                                                           
 LERHPIH                       LYKI 
                                                                           MRJSVQEPP] 
 LERK                          LYQER 
                                                                           MRJSVQEXMSR 
 LETTIR                        LYRHVIH       
 LETTIRMRK                                                   
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 LETT]                                               
 LEVH                                                           
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                                                                      MRJSVQIH 
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 LIEVH                                                                 MRMXMEP 
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 LIEVMRK                                             MRMXMEPP] 
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                                                 MRWMHI 
                                     MHIRXMJ] 
 LIEZ]                                                               MRWMWX 
                                     MHIRXMJ]MRK 
 LIPH                                                                 MRWXERGI 
                                     MHIRXMX]                          
 LIPTJYP 
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                        MQEKIW          MRWXMXYXMSR 
 LIPTJYPP]                     
                                                                           MRWXVYGXMSR 
 ,)6)83*36)                      -1)7 
                                                                           MRXIRXMSR 
 ,I]                           MQQIHMEXIP] 
                                                                           MRXIRXMSREP 
 LMKLP]                    MQTPMGEXI 
                                                                           MRXIVJEGI 



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 MRXVSHYGI                       NYWX                        PIXXIV 
 MRZIRXSV]                                                            PIXXMRK 
                                                         /
 MRZIWXMKEXIH                                                    PIZIP 
 MRZSPZIW                         /EQEQSXS                      PMEMWSR 
 MWWYI     OI]                PMJI 
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                                       OMRHW                     PMQMXEXMSR 
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 MWWYIF]MWWYI                  /MRK                           PMQMXEXMSRW 

 MWWYIW       ORS[MRK                  PMQMXIH 
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 MXIQ 
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 MXIQW                       PEFSVMRK 
                                                                           PMWXIH 
                                       0%'3968'322)'8 
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 .IJJGSXX       PE[         PMZI 
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 .IRRMJIV 
                                                             PSRK 
 .IWWI 
                                       PE[JYP                     PSRKIV 
 NSMRX 
         PE[JYPP]                      PSSOIH 
            PE[]IVW                037 
 .SREXLER                    PE]TISTPI                   PSWI 
 NYHKI       PE]TIVWSR                     PSWX 
  
                                       PE]W                          PSX 
 NYHKQIRX 
                                       PIEH                          
 .YHMGMEP                                                      
                                       PIEVRMRK 
 .YP] 
                                       PIEZI                                       1
 NYQT 
                                       PIRKXL 
 .YRI                                                QEGLMRI 
                                       PIRKXLW 
 NYVMWHMGXMSRW                                                       QEHI 
                                       PIWWIV                        
 NYV] 
                                       PIXEPSRI                     QEKMWXVEXI 



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 QEMRXEMR                       QIXEHEXE 
                                                                                            2
 QEMRXEMRW                      QMPPMSRW 
 QENSVMX]                       QMRH           REQIH 
 QEOI       QMRHJYP                       REQIW 
  
                                      QMRSV                      REVVS[ 
  
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                                      QMRSVW                  2EXMSREP 
 QEOIW 
                                      QMRSVW                        REXYVI 
 QEOMRK 
                                      QMRYXI       2'1)' 
 QERYEP                                 
                                                              
 QEWW 
                                      1MVS                          
 QEWXIV                                                  
                                      QMVVSVMRK 
 QEWXIVIH                                                            RIIHIH 
                                      QMWWMRK 
 QEXIVMEP                                                      RIIHPIWWP] 
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 1EXX                                                           RIKSXMEXI 
                                      QSHIPW 
 QEXXIV                                                             RIKSXMEXMRK 
                                      QSHMJ]                         
 1EXXLI[ 
                                      QSQIRX                         RSRGEPMJSVRME 
 1(0 
        1SRHE]                         RSRETTIEVERGI 
                                         
                                      QSRXL 
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                                      QSRXLW                         RSRETTIEVERGIW 
 QIERW 
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 QIERX                          1SVKER                         RSRIXLIPIWW 

 QIERXMQI                       QSVRMRK      RSRTVSJMX 
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 QIGLERMWQ 
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                                      
 QIHME                                RSXIH 

 QIHMEXI                         QSXMSRW         RSXIW 
                                                                    RSXMGI 
 QIIX 
                              QSZI      

 QIIXERHGSRJIV                QSZIH                         RSXMGIH 

 QIIXMRK                         QSZMRK          RSXMRK 
                                                           RYF 
 QIRXMSR 
                                      QYPXMTPEMRXMJJ               RYQFIV 
 QIRXMSRIH 
                    QYPXMTPI          RYQIVSYW 
 QIWWEKI                         1YRKIV 
 QIX                                                                   3

 1IXE                                                 SEV 



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 SFNIGXMSR                       SZIVEWO                          TMGOIH 
 SFPMKEXMSR                      SZIVHIWMKREXI                   TMGXYVIW 
 SFWIVZI                        SZIVPET                          TMIGI 
 SFWIVZIH                        SZIVVIHEGX                   TMIGIW 
 SFXEMRIH                                                              TMIVGMRK 
                                                       4
 SFXEMRMRK                                                             4MIVWSR 
 SJJIRHIV                       TEGI                            TPEGI 
 3PWSR                         TEKIW        TPEGIW 
 SRKSMRK                                TPEMRXMJJ 
                                      TEMH                            
 SRPMRI 
                                                                            
 STIR        4ERMWL                           
                                      TETIV                
 STIRMRK 
                                      TEVEPPIP                         TPEMRXMJJF]TPEMRXMJJ 
 STIVEXIW 
                                      TEVX          TPEMRXMJJW 
 STMRMSR                                                 
 STTSRIRX                         TEVXMIW         
                                             
 STTSWIH                       
 STTSWMRK                               
                                      TEVXMIW                
 STTSWMXMSR                                                        
 SVHIV      TEVXW      
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                                               
        TEWW 
                                                                            TPEMRXMJJW 
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                                            
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                                               TPERRIH 
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 SVHIVMRK                                           TPE] 
 SVHIVW        TIVGIRX                         TPE]IH 
  
                                      TIVMSHW                         TPIEHMRK 
 3VHMREVMP] 
                                      TIVQMWWMFPI                     TPIH 
 SVHMREV] 
                                      TIVQMWWMSR                       TSMRX 
 3VIKSR                                                               
                                      TIVTIXVEXSV 
 3VIRX                                                           
                                      TIVWSRRIP                  
 SVKERM^IH 
                                      TIVWTIGXMZI       TSMRXIH 
 SVMKMREPP] 
                                      TLSRIXMG                        TSMRXW 
 SYXPMRIH 
                                      TLSXS                           TSVRSKVETL] 
 SYXWIX 
                                      TLSXSKVETLW                     TSVXMSR 
 SYXWXERHMRK 
                                      TMGO 



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73'-%01)(-%'%7)7                                                                                        138-32
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 TSWMXMSR                 TVMZEXI                    TVSZMHIH 
                                                                            
 TSWMXMSRW       TVMZMPIKI 
                                                                            TVSZMHMRK 
 TSWWIWW                        TVSFPIQ 
                                                                            TVSZMWMSR 
 TSWWIWWIH                      TVSGIHYVIW 
                                                                            TWIYHSR]QW 
 TSWWMFMPMX]              TVSGIIH 
                                                                            4YVIP] 
 TSWX                            TVSGIIHMRKW 
                                               TYVTSWI 
 TSWXIH 
                                      TVSGIWW         TYVTSWIW 
 TSWXMRK 
                                                                
 TSXIRXMEP 
                                      TVSHYGMRK                       TYVWYI 
 TSXIRXMEPP] 
                                      TVSHYGX                       TYX 
  
                                                                            
                                      TVSHYGXMSR 
 TS[IVJYP 
                                      TVSHYGXMZIP] 
 TVEGXMGEFP]                                                                              5
                                      TVSHYGXW 
 TVEGXMGI 
                                      4VSJIWWSV                     UYIWXMSR 
 TVEGXMGIW                                                  
                                      TVSKVEQQEXMG 
 TVIEGL                                                               UYIWXMSRW 
                                      TVSKVIWW                        
 TVIGIHIRGI 
                                      TVSTIVP]                        UYIYI 
 TVIGMWI 
                                      TVSTSWEP        UYMGO 
 TVIGPYHI 
                                       
 4VIHMGEXIW                                                           UYMGOIV 
                                      TVSTSWEPW 
 TVIJIV                                                   UYMGOP] 
                                      TVSTSWI 
 TVIJIVVEFPI                            UYSXI 

 TVIWIRX        TVSTSWIH 
                                                              6
 TVIWIVZEXMSR       
                                           6ELYP 
                                       
  
                                       
                                                                            VEMWI 
 TVIWIVZI       
                                   VEMWIH 
 TVIWIVZIH          TVSTSWMRK           VEMWMRK 
                     
                                                                            6EZMTYHM 
 TVIWIVZMRK      TVSTSYRH 
                                                                            VIVIWTSRH 
 TVIXX]                         TVSXIGX 
                                                                            VIVIWTSRHIH 
 TVIZIRX                        TVSXIGXMSRW 
                                                                            VIEGL 
 TVIZMI[                         TVSXIGXMZI 
                                                                            VIEH 
                                       
 TVMRGMTPIW                                                VIEHMRK 
                                      TVSZI 
 TVMRXMRK                                                             VIEP 
                                      TVSZMHI 
 TVMSV                  VIEPMX] 
 TVMSVMX]                         
                                                                            VIEPM^I 




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 VIEPXMQI                        VITIEX                            VIWTIGXW 
 VIEWSR             VITP]                    VIWTSRH 
 VIEWSREFPI                      VITSVX     VIWTSRHIH 
                                       
 VIEWSRW                                              VIWTSRWI 
                                       
 VIGEPP                                       VIWTSRWIW 
 VIGIMZIH            VITSVXIH           VIWTSRWMFMPMXMIW 
                                       
 VIGIRXP]                                                              VIWYFQMX 
                                      6)4368)6 
 VIGSKRM^I                                                            VIZMGXMQM^I 
                                      VITSVXIV W 
 VIGSKRM^IH                                                           VIZMGXMQM^MRK 
                                      VITSVXMRK 
 VIGSPPIGXMSR                    
                                                                            VIZMI[ 
                                                                            
 VIGSQQIRH           VITSVXW        
 VIGSVH           
                                                                            VIZMI[IVW 
  
                                      VITSWMXSV] 
                                                                            VIZMWIH 
 VIGSVHIH                       VITVIWIRX 
                                                                            VIZMWMSRW 
 VIGSVHOIITMRK                  VITVIWIRXEXMSR 
                                                                            VMHIV 
 VIH 
                                      VITVSTSWI 
                                                                            VMWOW 
 VIHEGX                          VIUYIWX 
                                                                            VSEH 
 VIHEGXIH                    
                                      VIUYIWXIH           6SKIVW 
 VIHEGXMSR 
                                                                      VSYXI 
 VIHEGXW 
                                      VIUYIWXMRK                       VYPI 
 VIJIVIRGIH 
                                      VIUYIWXW             VYPIW 
 VIJMPIH                            
 VIJMPMRK                  VIUYMVI         VYPMRK 
 VIJPIGX                        
                                                                            VYR 
 VIJPIGXW                       VIUYMVIH 
                                                                      VYRRMRK 
 VIJVIWL 
                                      VIUYMVIQIRXW                     VYRW 
 VIKEVH 
                                      VIWIEVGL 
 VIKYPEV                                                                                7
                                      VIWIVZI 
 VINIGXIH 
                                      VIWSPYXMSR                        WEXMWJ] 
 VIPEXIH 
                                      VIWSPZI                          WGLIHYPI 
 VIPEXMRK 
                                      VIWSPZIH      WGLIHYPIH 
 VIPIZERX         
                                                                      WGLIHYPIW 
                                      VIWSPZIW                        7GLQMHX 
 VIQEMRMRK 
                                      VIWSYVGIW                    
 VIQEMRW 
                                      VIWTIGX         WGMIRGI 
 VIQEVOEFPI 
                                      VIWTIGXJYPP]                    WIEP 
 VIRIKSXMEXI 
                                      VIWTIGXMZI                  WIEPIH 



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 WIEPMRK      WLIIXEPP                      WQEVX 
  
                                       WLIIXW         7RET 
 WIEXIH                           
                                                                            WRETWLSXW 
 WIGVIX                           WLMJX 
                                                                            WSGMEP 
 WIGVIXW                          WLSVX 
                                                                            WSPI 
 WIGXMSR                   WLSVXIR 
                                                                            WSPMGMXIH 
 WIIO                            WLSX 
                                                                            WSPYXMSR 
 WIIOMRK                          WLS[ 
                                                                            WSPZI 
 WIPIGX                          WLS[R 
                                                                            WSPZMRK 
 WIPIGXIH                         WMHI 
                                                                            7SRWMRM 
                                       
 WIPP 
                                                                            WSSRIV 
                                       WMHIW 
 WIRH 
                                                              WSTLMWXMGEXIH 
 WIRWI 
                                       WMKR                      WSVX 
  
                                                                            
                                       WMKRIH 
 WITEVEXI 
                                                                            WSYRH 
        WMKRMJMGERX 
                                                                            WSYRHW 
 WITEVEXIP]        WMKRMJMGERXP] 
                                                                            WSYVGI 
 WITEVEXMRK                      WMKRMRK 
                                                                            7TEPHMRK 
 WIVZI                       7MPZIV 
                                                                            WTIEO 
 WIVZIH             WMQMPEV 
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 .37)4,:%2>%2(8)75
.)77)'6))()75
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     7SGMEP1IHME'EWIW                                                             138-32
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 1)(-%:-'8-170%;')28)632&),%0*3*40%-28-**7

17'0)3*) +33(1362-2+=396,3236

 ',)6-77)'0)3*)*631/-)7)00%;32&),%0*3*40%-28-**7

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   7SGMEP1IHME'EWIW                                                             138-32
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 .37)4,:%2>%2(8*631&)%70)=%00)232&),%0*3*8,)
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 32&),%0*3*40%-28-**7
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 %7,0)=7-1327)2*631'3:-2+832 &960-2+*368,)1)8%
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 7',1-(8'3:-2+832 &960-2+*368,)1)8%()*)2(%287
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 0%((32;-8,*%)+6)(6-2/)6*368-/83/%2(&=8)(%2')
16',-39 +33(1362-2+=396,3236
 ',6-7834,)6',-39;-8,;-07327327-2-*36+33+0)
 %04,%&)8%2(=3989&)
16&0%:-2 +33(1362-2+=396,3236
 .32%8,%2&0%:-2*36192+)68300)732&),%0*3*()*)2(%28
 72%4
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 :-'836-%()+8=%6):%*631192+)68300)7 3073232
 &),%0*3*8,)()*)2(%2872%4
8,)'3968 3/%= :)6=+33( =39'%2%00&)
 7)%8)( %2(1=6)59)78;390(&);,)2=39%6)74)%/-2+
 4900948,)1-'634,32)%80)%78 -*=39;%288378%2(

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   7SGMEP1IHME'EWIW                                                             138-32
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 *30/7328,)0-2)'%2,)%6=39 8,%2/=39*36=396
 .3-286)4368 -8;%7:)6=,)04*90%2(8,3639+, -,%:)
 %0-783*-8)17836928,639+,%2(8,)2;) 00'%8',94
 ;-8,=39-2'%7)=39,%:)731)8,-2+83%((
73;-8,6)74)'8838,)%((32'%7)7.978
 83/))486%'/3*):)6=8,-2+ ;)'366)'8)(8,)'%7)
 291&)6*368,)29:)67971)8%'%7)8,)7%2(-)+3'3928=
 '%7)%2(8,%8;%7'366)'8)(-28,)1-298)36()63*
 *)&69%6= 8,)6);%7%463437)(36()679&1-88)(83
 %((32&3=(:)67971)8% 8,%8;%7*-0)(.%29%6=-
 (-(2387-+28,%836()6&)'%97)8,%8'%7);%736()6)(83
 &)%(()(32-28,)*)&69%6=1-298)36()6
3/%= %2(8,)2%88%',)(838,).3-28
 78%897'32*)6)2')78%8)1)28*368,-78-1)*368,-7
 (%= 778%897'32*)6)2');%7%463437)(36()683%((32
 7):)6%0%((-8-32%0'%7)7%2(8,%836()6-2'09()(8,)
 8;3'%7)78,%8%6)328,)'%0)2(%6*3683(%= %2(-
 ,%:)7-+2)(8,%8463437)(36()6%2(-8;-00&)*-0)(
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 3*8,)%((32'%7)7-7'3140)<%2(%77)77-2+8,)'3140)<
 *-0-2+*)) 73-,%(%78%2(-2.%0%788-1);,3;%72 8
 %7*%1-0-%6;-8,8,)'336(-2%8)('%7)463'))(-2+773
 8,%8(-(2 8,%44)2&98=39 007))8,37)1-298)36()67
 '31-2+398*36)%','%7)
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 %2(%+%-28,%2/=39*36/))4-2+86%'/ -8 7:)6=
 ,)04*90 -*=39%6)'96-3978,)6)%732;,=8,)=+)832

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   7SGMEP1IHME'EWIW                                                             138-32
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 '%0)2(%6731)8-1)7-78,%8-*.9(+)'922-2+,%1%78,)
 %77-78%28794)6:-7-2+.9(+)*36'3140)<-*,)6)')-:)7
 %'%7);,)6)8,)&3<,%7&))2',)'/)(*36'3140)<,)
 6):-);78,%8'%7)83()8)61-2);,)8,)6-8 7'3140)<36
 238%2(8,)2%77-+27-8 -*,)7))78,%8-8-78,)
 ()*)2(%28 78,%8%6)-2:30:)(-28,)73'-%01)(-%'%7)7
 ,);-008,)2%77-+2-8831)&98,-7%77-+21)28831)
 (3)72 8%((8,)'%7)32 3/%= 8,%8 7;,=731)8-1)7
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 ,%:)7-+2)('13291&)632)6)+%6(-2+8,)40%-28-**7
 0)%()67,-47869'896) 8,%2/=39*3636+%2->-2+8,%8
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 -8%+%-2 ;)8%0/)(%&398%463437)(36()6&)-2+
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 '3968,%7831%/)%*-2(-2+-236()6*36*30/783&)
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 8,)7,368*361'3140%-287%2(8,)7',)(90)463437)(*36
 291&)6732)8,639+,7-<%7%'')48%&0) 738,%8+3)7
 8,639+,8,)463')773*8,)1%78)6'3140%-288,)7,368
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 %&3988,%84%683*8,)7',)(90)-78,%8-88))78,)
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 8,)8-1);,)2;))<4)'8*368,)+32>%0)>:)6797+33+0)
 '%7)83&)()'-()(&=8,)7946)1)'3968 73-/23;8,%8
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 %2(3*'3967);)+3878%68)(;-8,8,-7'336(-2%8-32
 7):)6%01328,7%*8)68,)1(0;%749883+)8,)673;) 6)%
 0-880)&-8&),-2(&988,-7;-00%003;97.97883,%:)
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 &6-)*8,)40)%(-2+',%00)2+)7328,)&%7-73*8,6))
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 1)8% ;)%6)46)4%6)(83463'))(328,%8&%7-7 -8
 (3)7'6)%8)%(-7'322)'8&)8;))28,);%==396,3236-7
 %((6)77-2+8,)()1966)6%2(8,);%=.9(+)+32>%0)>
 63+)67-7%((6)77-2+8,)138-3283(-71-77 %2(;),%:)
 &))2%7791-2+8,%8731)3*8,%8;390(&)71338,)(3:)6
 &=8,)*%'88,%8;,)240%-28-**7)0)'88,)-6'%7)78,)=
 ;-00,%:)731)*3'9732'%0-*362-%40%-28-**7%734437)(
 83-(-37=2'6%8-'38,)678%8)78,%81-+,8&)&)*36)%
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 '-6'9178%2')%6-7)7-*8,)=4-'/232'%0-*362-%
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 ;390(4-'/%00232'%0-*362-%40%-28-**7
16'6))( -&)0-):)%88,-743-28%008,)
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   7SGMEP1IHME'EWIW                                                             138-32
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 %08,39+,8,%81-+,8',%2+)361%=,%:)%06)%(=',%2+)(
 8,)0%788-1)-',)'/)(
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 92()678%2(-2+&98=39/23;=39640%-28-**7&)88)68,%2
 ;)(3 ;),%(8%9+,8*631033/-2+%8-88,%88,)
 1%.36-8=;)6)'%0-*362-%&988,)6);)6)%6%2+)*631
 38,)678%8)7&98=39;390(/23;&)88)68,%297
16'6))( =)%,-8,-2/8,)0%78;)(-(
 8,)6);)6)13780='%0-*362-%%2(-&)0-):)--*-8
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 8,)6),%7&))2731)8,%8%6)232'%0-*362-% - 1%;%6)
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 &6-)*8,))28-6)8=3*%'3140%-2836%7;) 6)+3-2+83
 (3-88,6))'3140%-287-7&)'%97)3*8,)786-'896)732
 ()1966)67-2'%0-*362-% -.9781=-278-2'8;%7;)
 '390(+)8,92+94-*;)(-(2 8(3%2)28-6)'3140%-28
 %2(-6)%0->)8,%8.9(+)+32>%0)>63+)67;-8,;,31-
 ,%:)743/)2&=8,);%=,%7-87)894(-**)6)280=&98
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 &)-2+%;%6)3*,3;-8 7&)-2+(32)-2*)()6%0'3968-
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   7SGMEP1IHME'EWIW                                                             138-32
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 ()'-()7*-678%2(- 1*-2);-8,8,%8 -(32 8/23;
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 ;36/7398 - 1/-2(3*8,-2/-2+8,%88,-7;-00&)
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 -%1()*)6)28-%0 8,%8 7*-2) 3/%= %2(-(32 8,%:)
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 1)%28,)6)40=&6-)*;390(&)*-0)(-23'83&)6%2(-
 .978;390(6%8,)6+)832;-8,8,-7%0-880)136)59-'/0=
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 '3140-'%8)(%2(8,)7',)(90)%7463437)(+-:)7)%',
 7-()%&398%1328, 73-*;)%7791)=39/23;8,%88,)
 7946)1)'3968&)*36)-8+3)732:%'%8-32()'-()7
 8,)-636-8(3)72 8()'-()8,)-6'%7)-2+32>%0)>
 :)6797+33+0)()*)2(%287;390(+)8%&398%1328,83
 %&736&8,%8%2(*-0)%2(8,)2%1328,%2(%1328, 73
 -8 7.978%0-880)032+*6%2/0=&98=390)81)/23;
 ;,%8=398,-2/ 8,39+,87#
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 &)*36);)+38,)6)-7%;8,)36()6;%72 8)28)6)(%2(-
 8,39+,8-%'89%00=74)'90%8)(-8;%7&)'%97)=39
 8,39+,8-8;%7%0-880)032+ ;) 6)*-2)7,368)2-2+-8
 -8,-2/8,)',%00)2+);-00&)*36()*)2(%2878346)4%6)

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   7SGMEP1IHME'EWIW                                                             138-32
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 8,)-6-2-8-%0()1966)6;,-',8,)=%6)8,)13:-2+4%68=
 &98;) 6)*-2)7,368)2-2+3966)40=83%1328,-278)%(
 3*7-<;))/7
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 .%18,)40%-28-**794&98-*8,)=-()28-*=8,)-68,6))
 '%7)7)%60-)6;)'390(463&%&0=13:)94396()1966)6
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 ):)6=8,-2+%032+-2%((-8-32837,368)2-2+;,-',
 16'6))(79++)78)(&98;)'%2463'))(,3;):)6=396
 ,3236())17&)78
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 38,)6,%2(=39/23;;)1-+,8238,%:)+32>%0)>:)6797
 +33+0)928-0.90=36.90=368,)=%0;%=7+)8-8
 (32)&=8,)8,3*.90=
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 2))(83'32*)6;-8,38,)640%-28-**7'3927)0&98-
 7974)'88,%88,)+32>%0)>()'-7-32%2(7)'8-32-7
 238+3-2+83-14%'883319',;,-',40%-28-**7;)
 -()28-*= 73;)-'%2'32*)6;-8,38,)640%-28-**7
 '3927)0%2(7))-*;)'%2-()28-*=;,30)'3140%-2878,%8
 8,)='%2()1966)632)%60-)6
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   7SGMEP1IHME'EWIW                                                             138-32
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 6)(3-8 328,)38,)6,%2(-%10)%:-2+*36%8;3;))/
 :%'%8-3232*6-(%=%2(- 1-2)9634) -*=39(32 8+)8
 -8831)&)*36)*6-(%=-;32 8+)8-8)28)6)(
730)8 7(38,-7 -;-00- 00)28)6
 8,)36()6&98- 00786-/)4%6%+6%4,78,639+,%2(
 8,)2=39'%21))8%2('32*)6 %2(8,)2-*-(32 8+)8
 =3962);-()%7&)*36)-0)%:)1-((%=32*6-(%=8,-7
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 *36%,)%6-2+(%= %2(8,)2-%2(1=78%**;-008%/)%
 033/%88,%8%2(;) 007)88,),)%6-2+(%8) 8,)2-*
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 033/%88,)03(+)('3140%-281%78)6'3140%-28-28,)
 1(0%2(-;%7;32()6-2+;,)8,)6=39,%((-7'977)(;-8,
 .9(+)+32>%0)>63+)67-2'09(-2+32)3*8,)'6-1-2%0
 78%898)'%97)73*%'8-32-28,)*-678;%-:)&6-)*-2+
 - 1-8 7232)3*1=&97-2)77 - 1.9788,63;-2+8,%8
 3988,)6)
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 &98-8;-00'31)94&)'%97)8,)2)+0-+)2')4)67)'0%-1
 8,%88,)40%-28-**7,%:))0)'8)(83'3:)67;))47-2
 8,37)8,37)'%97)73*%'8-32
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 831) 8,%8 7%00 3/%= )239+,7%-( - :)+38

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   7SGMEP1IHME'EWIW                                                             138-32
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 13(-*-'%8-327;-8,398+)88-2+833*%6-2838,)-779)7
 8,%8%6)-28,).3-286)4368 %2(8,-2+7;-0071338,
 3983:)68-1)&=8,);%=-28)6173*)%',7-()
 '31192-'%8-2+;-8,8,)38,)679**-'-)280=-2%(:%2')83
 +)8&38,7-() 7:-);7-2-2%*%-6;%= -,%:),%(8,%8
 ,%44)2&)*36)-20%6+)'%7)7;,)6)8,).3-286)43687%6)
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 =39;-0071338,8,%8398%78-1)+3)732
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 3*8,)6)%732*368,);%='%0-*362-%0%;,%7):30:)(
 ;-8,8,)'%0-*362-%7946)1)'3968'%7);,-',-(-(2 8
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 :)6='32')62)(%&39834)2'3968463'))(-2+7 %2(8,%8 7
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 =396'3968 7'327-()6%8-3283%((6)77690)%2(
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;-8,6)74)'8838,)'32*-()28-%0-8=
 ',%00)2+)78,)690)8,%88,)40%-28-**7'-8)%7;)
 92()678%2(-8%003;7*368,)+)2)6%049&0-'83
 ',%00)2+)8,)'32*-()28-%0-8=3*6)'36(7*-0)(%2(
 03(+)(;-8,8,)'3968%734437)(83*36-278%2')&)-2+
 %&0)83',%00)2+)8,)'32*-()28-%0-8=3*%2=(3'91)28
 463(9')(-28,)'3967)3*(-7'3:)6=-2%'%7) %2(8,%8
 ;390(&)8,)(-78-2'8-328,%8%88,-743-28;);390(
 (6%;&98;)%6),%44=83'328-29)8,)'32*)66%0;-8,
 8,)40%-28-**7328,-7 8,)-779)-78,)28))(94*36
 1%+-786%8).9(+),-<32-28,)1(0%7;)006)'3+2->-2+%
 (-**)6)287)836690)7%2(463')(96)7;-00%440=8,)6)
 &98-8,-2/8,%8;-00&):)6=-27869'8-:)*368,)
 4%68-)7&)*36);)79&1-8731)8,-2+*36=396,3236 7
 '327-()6%8-32
8,)'3968 %2(8,)2328,)(-7'03796)3*
 )<4)687-779)-,%:)2 86)%00=8,%8,%7238'31)94
 &)*36)&98-78%68)(8,-2/-2+%&398-8 %2(=39/23;
 32)8,-2+8,%83''966)(831);%78,%81%=&)-273*%6%7
 '32*-()28-%01%8)6-%0-7&)-2+463:-()(83%2)<4)68
 4)6,%478,)4%68=8,%8%71%/-2+8,%8(-7'03796)83
 8,))<4)68'390(&)6)59-6)(.97883*-0)92()67)%0
 ;-8,8,)'39688,)'3140-%2')(3'91)288,%88,))<4)68
 7-+2)(738,%8-8 7.97832*-0)
                      7.97832*-0) )%60=(-7'03796)3*
 )<4)687-7%2-779) -1)%23&:-3970=-2%80)%78

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   7SGMEP1IHME'EWIW                                                             138-32
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 -278%8)'39684%68-)7'%2,%:)232(-7'037)()<4)687
 8,%82):)6+)8(-7'037)(%2(8,)= 6)=39/23;-8 7
 ;36/463(9'8%88,%843-28 %2=;%=.978%8,39+,8
73-;-00%;%-88,);36/328,)*)()6%0
 '39684638)'8-:)36()6 %2(%073;-8,8,))7-46383'30
 - 1+0%(*36=3983;36/;-8,8,)1(0'3927)083*-+96)
 8,%832)398
16'6))( =396,32361%=-1%/)%'311)28
 328,)(-7'037)63*)<4)68-779) 32)3*8,)%2(-
 %1238796)8,)6)-7%2=8,-2+83()'-()%88,)131)2832
 -83*'3967)&9832)3*8,)',%00)2+)7;) 00,%:)32
 8,)40%-28-**77-()-78,%88,)6)%6)731)%88362)=7;,3
 %6)-28,)78%8)'3968463'))(-2+%2(8,)*)()6%0
 463'))(-2+%2(73
;,%8;) 6)86=-2+832%:-+%8),)6)%2(
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 ;%77-89%8-327;,)6)8,)6)-73&:-3970=(-**)6)28
 690)7(-**)6)28463')(96%0690)7-2)%',.96-7(-'8-32
 %2(;) 6)+3-2+83,%:)83*-+96)398;%=7831%/)796)
 %88362)=7%6)-2'3140-%2');-8,&38,4638)'8-:)36()67
 73;) 00;36/;-8,()*)2(%28732-8&98;)%6);36/-2+
 ;)00'336(-2%8-2+8,)8;3'%7)7 ;) :)%00&))232
 4,32)'%00783+)8,)60)2+8,=1))8%2('32*)6732%
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 398*36,3;8,)(-**)6)28463'))(-2+746)7)28-779)783
 8,)(-**)6)28()'-7-321%/)6792()6(-**)6)28690)7%2(
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   7SGMEP1IHME'EWIW                                                             138-32
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8,)'3968 3/%=
177-1327)2 .97883&6-)*0=6)7432( ;)3*
 '3967)92()678%2(8,%88,)4%68-)7;-002))(83'32*)6
 %&398%2=78%8)'3968(-**)6)2')78,%81%=6)59-6)731)
 %(.9781)28783;,%8):)68,)4%68-)7463437)36-7
 )28)6)(-28,)1(0 ;)3&:-3970=;%2883&)1-2(*903*
 %2=4%68-'90%6+9-(%2')=396,3236,%7 -8 77-140=396
 437-8-328,%8-8 746)1%896)83&)6%-7-2+8,37)-779)7
 %88,-743-28-28-1) %2(;);390(463437)8,%8;,)2
 8,)-779)-76-4)*36'327-()6%8-32;)46)7)28%00
 6)1%-2-2+39878%2(-2+-779)7*36=396,3236 7
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8,)'3968 3/%= 8,%8 7*-2) -0-/)7))-2+
 8,-2+7-2%(:%2')%'89%00=8,-2/-2+%&3988,)1&98
 =39/23;,3;;);36/-2'3140)<'39687 ;)(3%0383*
 -2*361%0*36)<%140)-2*361%0(-7'3:)6='32*)6)2')7
 %2(46)138-32'32*)6)2')7 73;)(3%0383*
 '31192-'%8-2+;-8,398()'-(-2+%2(()'-(-2+-7%
 (-**)6)288,-2+
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 -8,-2/-*- 1+0%(=39%6)+3-2+83463'))(;-8,8,)
 40%-28-**463*-0)*3618,%8;390(73683*-2-8-%8)%7-
 ;390(7))-8%6)74327-&-0-8=3*8,)()*)2(%2883
 46)7)6:);-8,6)+%6(838,)97)6%''39287 -8,-2/-8 7
 -14368%2883(38,%8%:)6=59-'/0=59-8),32)780=-
 8,-2/-8 783):)6=&3(= 7%(:%28%+)

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   7SGMEP1IHME'EWIW                                                             138-32
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 ;%288,%8):-()2')46)7)6:)( -8 7838,)()*)2(%28 7
 %(:%28%+)&)'%97);)008,)46)7)6:%8-3236()67-
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 4638)'8-32*368,)()*)2(%287&)'%97);,%8,%44)27
 ;-8,3988,%8-7-8'390(&);,%8,%44)2)(-232)3*
 8,)*-678'%7)7-0-8-+%8)( 396-;%7;36/-2+;-8,
 %4%682)6;,3;%70-8-+%8-2+-8 =39/23;,3;8,%8
 +3)7
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 8,-77366= ;);)6)79&&)(-283%'%7)%2(.978&)*36)
 ;);)6)79&&)(-2%*361)6)1403=)),-+,0):)0
 )1403=))3*8,)'314%2=,%(&))2()437)( ,);%7
 6)8-6)( %2(-8;%7%()437-8-32;-8,%238-')83
 463(9')(3'91)287%79&43)2%-28,)'%7) %2(,)-8
 ;%7:)6=3((8,%8,-7;-*)-27-78)(,)'0)%23988,)
 +%6%+)328,)7%896(%=&)*36),-7;)(2)7(%=()437-8-32
 %2(,)()7863=)():)6=8,-2+
3/%= %2(;);)6)238-28,)'%7)%8
 8,%88-1)8,%2/*900=&98;);)6)&639+,8-2%*8)6
 8,%8 -8;%7%,9+)*%'836-28,)'%7).978%,9+)
 *%'836&)'%97)8,)()7869'8-32;%7+3-2+83033173
 0%6+)-28,%886-%0 %2(-.9786)*)66)(8,)()*)2(%287
 83'%'-;-00*9079446)77-32 -,%:)+-:)28,%8
 -27869'8-32&)*36) -8,-2/-8,%7%():%78%8-2+%**)'8
 328,).96=%2(1%2=8-1)740%-28-**7%6)&)88)63**
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   7SGMEP1IHME'EWIW                                                             138-32
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 -779)=39'%2+3%,)%(%2(2)+38-%8)%46)7)6:%8-32
 36()6-2*)()6%0'3968 831=;%=3*8,-2/-2+-8 7
 %01378%7%*),%6&36*368,)()*)2(%287&98-8,-2/
 ):)6=8,-2+-7%(:%28%+)(&=(3-2+8,-740%-28-**
 463*-0)%2(-8,-2/=397,390(+)832;-8,-8 %2(
 ):)2-*=39'%2 8;)00,34)*900==39'%22)+38-%8)
 731)8,-2+8,%8 7%+6))(&=&38,7-()7&98.978&%7)(32
 ;,%8,%7&))2%00)+)(%2((-7'977)(%&398,3;032+
 8,-2+7%6)/)48-28,)-28)62)8;360(3*8,)7)%''39287
 -8,-2/8,%82))(783&)(32)59-'/0=
16'6))( =396,323673;)%6);36/-2+
 2)+38-%8-2+%40%-28-**463*-0)*361*3646)7)6:%8-32
 496437)7 -8,-2/-28,)-28)6-1-'%274)%/*36396
 '%7)7;),%:)&))26)7432(-2+%80)%78831)8% 7
 6)59)787*36463*-0)-2*361%8-32*368,)40%-28-**7 73
 -8 7&))2,%44)2-2+-2*361%00= -,%:)7))20)88)67
 +3-2+&%'/%2(*368,328,%8&98;);-00%(348%136)
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328,)-779)3*8,)46)7)6:%8-3236()6-2
 *)()6%0'39681=92()678%2(-2+-78,%8()*)2(%287;-00
 7))/%7-1-0%636()6-28,-7463'))(-2+ %2(;,%8;) 6)
 86=-2+83%:3-(3*'3967)-78,%88,)*)()6%0)2%'87
 %236()692()6*)()6%0690)7;-8,6)74)'883
 (-7'3:)6%&-0-8=78%2(%6(7%2(8,)2;)'31)83=396
 ,3236;-8,%2%6+91)288,%88,37)78%2(%6(7(32 8%440=
 %2(8,)6)-7%(-**)6)2836()6-28,-7'%7)
;)%6)86=-2+837=2'8,)194 %2(%7

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   7SGMEP1IHME'EWIW                                                             138-32
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 8,)()*)2(%28731%=&)-8 7.978731)8,-2+*368,)
 ()*)2(%28783*-+96)398,3;83'3140=;-8,&38,36()67
 -*8,)6)%6)8;336()67
8,)'3968 -1)%2-(32 8/23; -033/%8
 -8%7%7%*)6,%6&36*368,)()*)2(%28773-(32 8
 /23; %2(-8 7%'96-39759)78-32-2%;%=,3;8,)
 ,3;8,)&%0%2'-2+3*8,)*)()6%0690)7;-8,6)+%6(83
 (-7'3:)6=-28)6173*;,%8-7(-7'3:)6%&0);390(%440=
 -2%'%7)0-/)8,-7 -1)%2-8 7238%7-89%8-32;,)6)
 -8 7%71%00'%7)%2(%71%00()*)2(%28463(9'-2+
 (3'91)287 73-28,))2(-(39&88,)6)-719',
 (-**)6)2')&98=39/23;-'%2 874)'90%8)
 908-1%8)0=8,)-779)-7;,)8,)6-8 76)59)78)(-2
 (-7'3:)6=%2(;,)8,)68,)'3968*-2(78,%8-87,390(&)
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 8,-2/%,)04*908330*36&38,7-()7 %2(8,)
 46)7)6:%8-3236()68,%8;),%:)463437)(83
 40%-28-**7;,-',%+%-2;) 6)2)+38-%8-2+;-8,&38,
 8,)1(040%-28-**7%2(8,).''440%-28-**7-7
 ()7-+2)(831))8()*)2(%287 46)7)6:%8-32%2((-7'3:)6=
 3&0-+%8-327%'6377&38,8,)78%8)%2(*)()6%0
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   7SGMEP1IHME'EWIW                                                             138-32
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 74)'-*-''%8)+36-)73*(3'91)287%2(-2*361%8-328,%8
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 40%-28-**7%783)<%'80=;,%8;)%6)46)7)6:-2+%2(8,)
 '%8)+36-)73*-2*361%8-32*36;,-',;,)8,)6(9)83
 46-:%'=36&96()23638,)6'32')627;)8%/)%437-8-32
 ;)%6)92%&0)8346)7)6:) %2(8,37)-779)7;)-28)2(
 83&)%2(,%:)&))2*900=86%274%6)28;-8,40%-28-**7
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 %2(-2*361%8-32()0-2)%8)(-28,-7*%7,-32-*;)'%2
 6)%',%+6))1)28;-8,40%-28-**736-*=396,3236%2(8,)
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 6)%00=3&:-%8)7%2=2))(*36%(-7'977-32%6392(8,)
 /-2(3*8,)36)8-'%0(-**)6)2')7&)8;))2*)()6%0%2(
 78%8)0%;%2((-7'3:)6%&-0-8=;,-',%7=396,3236238)(
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   7SGMEP1IHME'EWIW                                                             138-32
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 8313663;1362-2+73;)%6)13:-2+-8*36;%6(
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 '7%146)7)6:%8-32%2(-7))8,%8=39,%:)&))2
 (-7'977-2+8,%8 -;390(0-/)83+-:)46-36-8=838,)
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 40%-28-**7321%6',8,*36%1))8%2('32*)6328,%8
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 32-8*)()6%00%;(3)7%003;*36-278%2')-2'6-1-2%0
 '%7)7*36'6-1-2%0()*)2(%287320=83%'')778,-78=4)
 3*'7%1-2*361%8-328,639+,+3:)621)28*%'-0-8-)7 %2(
 8,%8-7%2)<')48-321%()320=-28,)'%7)3*'6-1-2%0
 '%7)7 8,%8 7320=83,-+,0-+,8*36=396,32366)%00=
 ;,%8%73683*)<86)1)*)()6%078%898);)%6)()%0-2+
 ;-8,,)6)8,%8463,-&-879792()6*)()6%00%;*631
 4377)77-2+%2((-786-&98-2+',-0(7)<%&97)1%8)6-%0
%2(*368,37)6)%7327;)8,-2/0-/)0=
 7-+2-*-'%28'32*)66%0328,)7)-779)7;-00&)6)59-6)(
 *6313964)674)'8-:)%2(-8 7-240%-28-**7-28)6)78
 :)6=19',8392()678%2(,3;8,%8*)()6%078%898)1%=
 %440=;-8,6)74)'883%2='7%18,%88,)-6'0-)2871%=&)
 -24377)77-323*&=:-689)3*1%-28%-2-2+8,)-673'-%0
 1)(-%%''39287 73;)8,-2/&38,7-()7,%:)%2-28)6)78
 -2,%:-2+'0%6-8=%2(%234436892-8=83*900=:)88,)7)
 -779)7;-8,32)%238,)6&)*36)46)7)28-2+8,)183=396
 ,3236
-8,-2/;)'%2')68%-20=1%/)):)6=
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 ;-8,6)74)'883'7%146)7)6:%8-32-8,-2/(%=7
 0-/)0=;390(&)79**-'-)2879&.)'8838,):-);73*8,)
 38,)6()*)2(%287%2(8,)40%-28-**7 -8,-2/8,%8-*;)
 %6)2 8%&0)836)%',%+6))1)28328,%8-779)%&-83*%
 032+)64)6-3(3*8-1)738,%8;)'%2*900=&6-)*-8*36
 =396,3236;390(&)&)2)*-'-%0
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 97 -%1238%;%6)3*8,%81%6',8,'31192-'%8-32&98

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   7SGMEP1IHME'EWIW                                                             138-32
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 %2=;%=76)+%6(0)773*,3;8,)1)8,3(&=;,-',8,)=
 (-786-&98)-883%'6-1-2%0()*)2(%28&988,%8 7;)
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 46)7)6:%8-32%2(73-8,-2/;,%8-;390(0-/)83(3-7
 837%=8,%8-;%28%78-490%8-32%2(463437)(36()6-2
 (%=736%6)(0-2)(463437)(36()68,%8,-+,0-+,878,)
 %6)%73*(-7%+6))1)28;-8,%463437%0%783,3;=39
 ;390(0-/)83463'))(*968,)6;-8,(-7'977-323*8,)
 6)1%-2-2+-779)7;-8,8,)'3968
73-238,)6;36(7=39'390(7%==39
 /23;,)6)%6)8,)%6)%73*(-7%+6))1)288,)'3968'%2
 .978()'-()36=39/23;,)6)-7%'3940)4%6%+6%4,7
 *36)%',7-();,-',;) 6)4988-2+328,)1)77%+)&3%6(
 36+));) (0-/)<4%+)74)67-()%2(%,)%6-2+
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 46)7)6:%8-3236%6)(0-2)(463437)(36()67,3;-2+8,)
 %6)%73*(-7%+6))1)2883+)8,)6;-8,%.3-284378-2+32

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 13:-2+*36;%6(;-8,8,)40%-28-***%'87,))87
 (-7'977-32 -8,-2/-8-7%446346-%8)83463'))(;-8,
 8,%8 8,)+%0463')(96)8,%8=3979++)78-7%'')48%&0)
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 )-8,)6;%=328,%8 -(32 80-/)83497,8,37)8,-2+7
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 '%2-2'09()8,%8-2=396437-8-327328,%8-28,)2)<8
 78%8976)4368
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 8,%8-1-77)(;,)2=396,32367%-(8,-7 =396,3236
 7%-(8,%88,)'3968;390()28)6-8)1732)8,639+,7-<32
 %7',)(90) -8)17-<-78,)40%-28-**7 )0)'8-323*8,)
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 83&)%&0)83'32*)63213:-2+8,%894%7;)0073-

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 :)6797-7869'/4%6%+6%4,7-<%7;)0073;) 6)328,)
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 8,)'%7)1%2%+)1)2836()6291&)632)-2:30:-2+
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 7869'/')68%-24%6%+6%4,7 -.978;%28)(837))-*8,%8
 ;%7;-8,39846).9(-')&)'%97)8,)=6)0%8)(83'31132
 &)2)*-8%2(%77)771)28
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 &)2)*-8*92( -,%:)7-+2-*-'%28(39&87%783;,)8,)6-
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 38,)6;)00-28,)73'%0+%7'%7)8,)6);%7%'31132
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 -7398321%8)62-8=0)%:)6-+,823; ,)6%2(8,)&%&=
 %6)&38,(3-2+;)00%2(7,) 7:)6=19',033/-2+*36;%6(
 83+)88-2+&%'/83;36/%2(&)-2+,)6)-2=396'3968-2
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 -779)78,%8=396,32361)28-32)(%88,)*-67878%897
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 32&),%0*3*8,))1-0=.)**'388;,3-7%8136+%2
 136+%2 &)8;))23968;3*-617;);390(%28-'-4%8)=39
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 ;%7;)(38,-2/-8;390(1%/)7)27)83,%:)8,)/-2(
 7'-)2')(%==396,3236-78%0/-2+%&398 ;)%0738,-2/
 8,%8463&%&0=*968,)6(3;28,)63%(-8;390(1%/)7)27)
 83,%:)%7'-)2')(%=32%'89%07'-)2')%2(6)7)%6',32
 731)3*8,)1)6-87-779)7
;),%(8,39+,8&38,3*8,37);390(1%/)
 7)27)%*8)68,)()1966)67-140=&)'%97)3*8,)'32')62
 8,%8-*-889627-283%(:3'%'=8,639+,7)0)'8-323*
 7'6))27,38736731)8,-2+0-/)8,%88,%8'390(&),%6(
 831%2%+)-28,)8)6173*8,)4%68-)76)%',-2+%0-+21)28
 328,%8
;) 6)')68%-20=34)283'32*)66-2+32
 8,%8;-8,8,)40%-28-**7837))-*8,)6)%6)+9%6(6%-07
 ;)'390('31)94;-8,8386=83+-:)=396,3236;,%8
 =396,3236-7033/-2+*36;-8,398-88962-2+-283;,%8
 ;);390(:-);%7%23987-()8,)6)'36(%(:3'%'=)<)6'-7)
 &)*36)%()1966)6&988,%8;390(&)396'32')62%&398
 (3-2+-8-7.9788,)7-140)8-1-2+'32')623*(3-2+-8
 &)*36)%()1966)6%2(8,)+9%6(6%-07*36-8238&)-2+%2
 %(:3'%'=)<)6'-7)83+33987-()8,)6)'36(3987-()8,)
 40)%(-2+7
16:%2>%2(8 =396,3236;)')68%-20=;390(
 &)-28)6)78)(831))8%2('32*)6%2((-7'9774%6%1)8)67
 328,37)438)28-%07'-)2')(%=-779)7&98-28,)
 1)%28-1)+-:)2=396,3236 7;-7,)7837))7'6))27,387
 8392()678%2(8,)97)6)<4)6-)2')136);)')68%-20=
 (-7'977)(8,%8-28)62%00=%2(;)'%2')68%-20=
 -2'36436%8)136)3*8,%8-2833961%78)6'3140%-288,%8

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   7SGMEP1IHME'EWIW                                                             138-32
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 ;);-00&)*-0-2+,)6) ;)')68%-20=3&:-3970=,%:)
 %2-28)6)78*368,)'39688392()678%2(8,)7)40%8*3617
 %2(8,)7)-779)7+3-2+-2838,)()1966)6&6-)*-2+73
 8,%8 7731)8,-2+;)'%2%((6)77;-8,8,)40%-28-**7
 7-()8,639+,396-2-8-%01%78)6'3140%-28
8,)'3968 -(-(7))8,%88,)6);)6)7'6))2
 7,387-28,)1(0'3140%-28 -,%:)2 86)%(-8'3:)683
 '3:)6&98-(-(7))8,)6);)6)7'6))27,3878,)6)
167',1-(8 -*;)'390('32*)6328,%8=396
 ,3236;);390(%446)'-%8)8,%834436892-8=
8,)'3968 8,%8 7*-2) %2(=39/23;78%8)
 0%;-76)%00=59-8)786-'832238'327-()6-2+):-()2')
 3987-()8,)6)'36(;,)232)-7(3-2+%()1966)6 - 1
 ;)00%;%6)3*8,%8
%2(- 007%=.9(+)+32>%0)>63+)67;-00
 74)%/*36,)67)0*7,)(-(2 87))18,%88%/)2&=8,)
 -()% -;32 87%=7,)830(1)-8;%7%7894-(-()%
 &98=39/23;7,)(-(2 87%=3,0)8 77',)(90)8,%8
 7332 73- 1238796)8,)6)-7+3-2+83&)%.3-28
 7'-)2')(%= 7,) 7+38%:)6=&97='%0)2(%6833%7=39
 463&%&0=/23;
16:%2>%28 =396,3236;) 008%/)=396
 '311)287-2'327-()6%8-32*36496437)73*8,)'3140%-28
 %2(3&:-3970=;);-00&);-00-2+831))8%2('32*)6
 ;-8,()*)2(%287328,-7-779)
8,)'3968 :)6=+33( -;%2883&):)6=
 ()*)6)28-%0838,)()*)2(%287-28,-7%6)%59-8)
 ,32)780=&)'%97)-84%68-'90%60=%88,)',%00)2+)83

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   7SGMEP1IHME'EWIW                                                             138-32
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 8,)40)%(-2+78%+)-87,390(238&)731)8,-2+8,%8
 -28)6*)6)7;-8,78%8)0%; 3/%= 78%8)463')(96%00%;
16:%2>%2(8 =396,3236*-2%0-779)*36
 1).37)4,:%2>%2(8;)%6)1))8-2+%2('32*)66-2+;-8,
 ()*)2(%287%2(1(0'3927)032%463437)('336(-2%8-32
 36()6*368,)1(0%2(8,)2;) 00438)28-%00=&)033/-2+
 83463437)%7-1-0%636()6,)6)83=396,3236 -.978
 ;%28830)8=39/23;8,%8;%7-28,);36/7 -8,-2/8,)
 7',)(90)-7'966)280=*368,%883&)79&1-88)(838,)
 1(0'39688,-7*6-(%=%463437)('336(-2%8-3236()6
8,)'3968 -7%;%6)*)6)2')838,%8 ;,%8
 -7%'336(-2%8-3236()6#
16'6))( 8,)'336(-2%8-3236()6-7
 &%7-'%00=%236()68,%87))/78373683*0%=8,)+6392(
 690)7*36,3;;) 6)+3-2+83%7%'39681(0'3968
 40%-28-**7%2(()*)2(%287;-00(6%*8 -8,-2/;)'%2
 -8,-2/8,)-2-8-%0(6%*8-7:)6=&63%(-28)6173*;,%8
 -8(-( %2(-8,-2/;) 6)1))8-2+%2('32*)66-2+7332
 %2(-%1238+3-2+836%-7)8,37)-779)7&98-2.990
 *36-278%2');),%(%'336(-2%8-3236()6&)8;))28,)
 78%8)'3968%2(8,)*)()6%0'3968 %2(-80%6+)0=;%7
 .97873683*8,)+6392(;36/*361%/-2+796)8,)6)-7
 232(940-'%8-:)(-7'3:)6=32'31132-779)7&)8;))28,)
 8;3 -8(-(2 86)786-'8)-8,)64%68= 76-+,883
 4634392((-7'3:)6=&98-8 7%2-779)8,%8;) 6);36/-2+
 398;-8,()*)2(%287 ;)8,-2/8,%8-81%/)77)27)83
 )28)632)&98=39/23;;)6)7)6:)8,)6-+,823883
 )28)632)-28,-7463'))(-2+

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   7SGMEP1IHME'EWIW                                                             138-32
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8,)'3968 %006-+,8 73-;390(.978,%:)
 8;3'311)287328,%8 291&)632)'336(-2%8-32,%7%
 74)'-*-'1)%2-2+92()678%8)0%;6-+,8 -8;390(
 8,-7-7%'336(-2%8)(463'))(-2+%2(;),%:)%;,30)
 463')(96);,-',=39,%:)&))28,639+,32,3;'%7)7%6)
 '336(-2%8)(-28,%87)27) 73-8,-2/%80)%78*361)
 8,%8=39/23;8,%82))(78,%8;36(2))(783&)
 '327869)(-28,)'328)<83*;,%88,)690)73*'3968
 463:-()*36'336(-2%8-32738374)%/;,-',=39,%:)
 %06)%(=&))28,639+,&98;,-','390(,%:)*968,)6
 -140-'%8-327(3;28,)0-2);-8,6)74)'8838,-7'3968
 %7=39/23;&)-2+%&0)8386=%003*8,)'%7)76-+,8
 :)67978,)*)()6%0'3968;,-',,%7836)1%2(%8731)
 43-2836)07)+37-8-23,-383,)%6%23,-3'%7)
 6-+,873-8 7%(-**)6)28463')77 3/%=
8,)38,)68,-2+=397,390(/23;%2(
 =39/23;8,37)3*=39;,3,%:)&))2-2:30:)(-2'%7)7
 -21='3968;390(/23;(-7'3:)6=-7:)6=7)0(3134)2
 )2()(-21='3968 3/%= 738,)6);-00&)8,)
 (-7'3:)6=78%=;,)28,)(-7'3:)6=78%=-70-*8)(
 -8 7238+3-2+83&)34)27)%73232(-7'3:)6= ;);-00
 +38,639+,78%+)73*(-7'3:)6=
-3*8)20-/)83,%:)'3927)0'32*)6%&398
 8,)%:%-0%&-0-8=3*(3'91)28%8-32&)*36)4634392(-2+
 (-7'3:)6=738,%8;)86=83%:3-(8,-2+70-/)=39/23;
 838%00=3:)6&63%((-7'3:)6=;,-',-7838%00=3:)6&63%(
 &)'%97)8,)6)59)78-2+4%68=,%723-()%,3;8,)
 6)7432(-2+4%68=/))478,)-6(3'91)287%2(-2*361%8-32

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   7SGMEP1IHME'EWIW                                                             138-32
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 %2(8,)24392(7%2(3&.)'8-327&)'%97)-8-73:)6&63%(
 6-+,8%2(738,)2=39,%:);%78)(=39/23;(%=732
 8,%8 %2(8,)2=397-8(3;2*368,)*-6788-1)%2((3%
 1))8%2('32*)6%&398;,%8-7%'89%00=%:%-0%&0)%2(
 ;,%8-7+3-2+83&)463(9')( -0-/)8313:)8,%8):)28
 94838,)&)+-22-2+ 738,%8 732)8,-2+
- 1%073-%0738,-2/8,%8;,%8-'%00
 78%+)((-7'3:)6='%2&)%97)*90;%=83+3-2731)'%7)7
 ;,)6)'36)(3'91)287%6)463(9')(36'36)-2*361%8-32-7
 463(9')(;-8,3988,)6)&)-2+%2%779148-328,%8
 ):)6=8,-2+,%7&))2463(9')(%2(1%=&)7%140)7%6)
 463(9')(%2(8,%873688,-2+ 73920-/)%7-89%8-32
 ;,)6)=39,%:)+38%1%+-786%8).9(+);366=-2+%&3988,)
 0-880)789**3*8,)(-7'3:)6=831)(-7'3:)6=-7
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*368;36)%7327 291&)632)-87,%4)7
 8,)'%7) %2(291&)68;3-8 78,)1378)<4)27-:)4%68
 3*8,)'%7) %2(;),%:)-2396'3140)<463+6%1%2
 3&0-+%8-32837)6:)8,)+3%073*8,)463+6%132)3*
 ;,-',-7836)(9')0-8-+%8-32'3787 73;)(3%0383*
 ,%2(7328%/-2+'%6)3*(-7'3:)6= %2(%8%1-2-19123
 (-7'3:)6=138-32-7*-0)(&)*36)8,)6)-7%2-2*361%0
 '32*)6)2');-8,8,)'3968&98-2%'%7)8,-70%6+)-
 1%2%+)-8&)*36);)+)8-2838,)%'89%079&78%2')3*8,)
 (-7'3:)6=
23;,%:-2+7%-(8,%8-%1%;%6)8,%8-2
 8,)7)0%6+)6'%7)7731)8-1)7-8(3)72 81%/)7)27)83(3
 78%+)((-7'3:)6=%2(4%68-%0(-7'3:)6=&)'%97)

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   7SGMEP1IHME'EWIW                                                             138-32
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 ):)6=8,-2+2))(783&)(32)&)*36)()437-8-327'%2&)
 8%/)2 73- 1%;%6)8,%88,)6)1%=&)320=7319',8,)
 '3968'%2(3837%:)0-8-+%8-32'3787&=97-2+78%+)(
 (-7'3:)6=2):)68,)0)77=39;-00/23;;,%8=39%6)
 (3-2+*6311)
,%:-2+7%-(8,%88,)*)()6%0'3968
 78%68)(*-67873=39/23;-*8,)=%6)+3-2+*-678;-8,
 8,)(-7'3:)6=- 1,%44=*36-883&).978&639+,8-283
 8,-7'%7) 8,%8 73/%= 738,37)%6)731)3&7)6:%8-327
 =391-+,8/))4-21-2(
177-1327)2 8,%8 7:)6=,)04*90=396
 ,3236 8,%2/=39
8,)'3968 - 00&)+0%(83&)8,)1%+-786%8)
 .9(+)*368,)*)()6%0'%7)833-*=39;%2883(3-88,%8
 ;%= - 1320=73683*/-((-2+&)'%97)=39'390((38,)
 (-7'3:)6=1%2%+)1)28-28,-7'%7)%2(8,)2463(9')-8-2
 8,)*)()6%0'%7)&988,%8 72388,);%=8,-2+7979%00=
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                                      &97-2)77 
 &%'/                                              ',,%&6-% 7 
                                      &97= 
                                                        ',-0( 
                                      &=8)(%2') 
 &%(                                                               ',-39 
 &%0%2')                                          '                 ',-4 
 &%0%2'-2+                                                          ',6-7834,)6 
                                      '%&6%7)6 
 &%7)(                                                              '-6'9178%2') 
                                      '%'- 
 &%7-'%00=                                                         '-8) 
                                      '%0)2(%6 
 &%7-7                                                       '0%-1 
                                      '%0-*362-% 
 &)%70)=                                                           '0%6-*-'%8-32 
                                       
 &)(                                                               '0%6-8= 
                                      '%00 
 &)+-22-2+                                                    '0%77 
                                      '%007 
 &),%0*                                           '0)%2 
                                      '%6) 
  
                                      '%630=2                        '0)3*) 
 &)2)*-'-%0                                                        
                                      '%7) 
 &)2)*-8                                               '0)6/ 
                                       
  
                                       



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7SGMEP1IHME'EWIW                                                                                138-32
.''4                         ')68-*-)('34=                  -RHI\'0-)28()*)2(%287

 '0-)28                                                          '6)%8) 
 '0-)287                       '32*97-32                        '6)%8)7 
 '1' 7                         '32+6%890%8-327                 '6))( 
                                                                           
 '13                '327-()6%8-32 
                                                                           
                                      
 '300)'8-:)                                                          
                                     '327869)(                        
 '300)+-%0 
                                     '328)<8                          '6-1-2%0 
 '311)28 
                                     '328-29)                  '7%1 
 '311)287 
                                                                           
                                     '32:-2') 
 '31132                                                  '76 
                '336(-2%8)( 
                                                                '922-2+,%1 
 '31192-'%8-2+ 
                                     '336(-2%8-2+                    '96-397 
 '31192-'%8-32 
                                     '336(-2%8-32 
 '314%2=                                                                             (
                                      
 '3140%-28 
                                     '36) 
                                                     (%8% 
                                     '366)'8 
 '3140%-287                                              (%8) 
                                     '366)'8)( 
 '3140)<                                                (%8)7 
                   '3787 
                                                                           (%9+,8)6 
 '3140)<-8=                      '3927)0 
                                             (%= 
 '3140-%2') 
                                                 (%= 7 
  
                                     '3928=                            (%=7 
 '3140-'%8)( 
                                     '3940)                     
 '3140= 
                                     '3968            ()%0 
 '32')62 
                                          ()%0-2+ 
  
                                      
 '32')62)(              ()'-() 
                                           ()'-()( 
 '32')627                        
 '32*)6                ()'-()7 
             ()'-(-2+ 
             
                                         ()'-7-32 
 '32*)6)2')             
                                                    ()'0-2)( 
                                      
 '32*)6)2')7                                                      ())17 
                                     '3968 7 
 '32*)66%0                                                     ()*)2(%28 
                                     '3968'322)'8               
 '32*)66-2+         '39686331 
                                                             ()*)2(%28 7 
                                     '39687          ()*)2(%287 
 '32*)67 
                                     '3:)6                    
 '32*-()28                                                           
                                     '3:)6)(                         
 '32*-()28-%0 
                                     '3:-2+832                     ()*)2(%287 
 '32*-()28-%0-8= 



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7SGMEP1IHME'EWIW                                                                             138-32
.''4                            ')68-*-)('34=                    -RHI\()*)27)*%-6

 ()*)27)              (-7'977)(     )2%'87 
 ()*)6)28-%0                (-7'977-2+          )2( 
 ()+6))                          (-7'977-32    )2()( 
 ()+8=%6):%                    (-70-/)7                  )2*36')( 
 ()0-2)%8)                        (-71-77                   )2796-2+ 
 ()0-2)%8)(                      (-71-77%0                 )28)6 
                                                                      
 ()1%2(                          (-78-2'8-32 
                                                                      )28)6)( 
 ()1966)6          (-786-&98) 
                                                        )28-6) 
                                       (-786-&98-2+ 
 ()1966)67                                               )28-6)8= 
                                       (-786-&98-32 
  
                                                                      )59-:%0)28 
                                       (-786-'8 
 ()4%681)28 
                                                                      )7- 
                                       (3'91)28 
 ()437)( 
                                                                 )9634) 
 ()437-8-32 
                                       (3'91)28%8-32            ):)2-2+ 
 ()437-8-327 
                                       (3'91)287    ):)28 
 ()48,                            
                                                                      ):)6=&3(= 7 
 ()7-+2)(                        (39&8 
                                                                      ):-()2') 
 ()7863=)(                 (39&87 
                                                                      ):30:)( 
 ()7869'8-32                     (6%*8 
                                                                      )<')48-32 
 ()8)61-2)                         (6%*8)( 
                                                                      )<)6'-7) 
 ():%78%8-2+                     (6%*8-2+ 
                                                                      )<4)'8 
 (-)+3                             (6%; 
                                                                      )<4)27-:) 
 (-**)6)2')                   (6-2/)6 
                                                                      )<4)6-)2') 
 (-**)6)2')7                (9) 
                                                                      )<4)68 
 (-**)6)280= 
                                                                      )<4)687 
                                                       )
 (-6)'8)( 
                                                                      )<46)77 
 (-7%+6))1)28              )%60-)6      )<46)77-32 
 (-7'037)(                        
                                                                      )<8)28 
 (-7'037)6                        )%60= 
                                                                      )<86)1) 
 (-7'03796)                )**)'8 
                                                                      )<86)1)0= 
 (-7'322)'8                       )**368 

 (-7'3:)6%&-0-8=                 )0%&36%8)                                *
                                 )0)'8 
 (-7'3:)6%&0)                                                    *%'-0-8-)7 
                                       )0)'8)( 
 (-7'3:)6=                                          *%'8 
                                       )0)'8-32 
                                       *%'836 
     )1-0= 
                                                                *%)+6) 
                                       )11)0 
 (-7'977                                                  *%-6 
                                       )1403=)) 



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7SGMEP1IHME'EWIW                                                                                  138-32
.''4                           ')68-*-)('34=                         -RHI\*%1-0-%6-()%

 *%1-0-%6                *900=                 ,%44)2)( 
 *%7,-32                        *92(       ,%44)2-2+ 
 *)&69%6=                     *9896)                   ,%44= 
 *)()6%0                                                 ,%6&36 
                      +
                                                                           ,%6( 
  
               +%0                             ,%8) 
 *)(7                           +%6%+)                         ,)%( 
 *))                             +%66)88                         ,)%6 
 *))07                          +%7                       ,)%6-2+ 
                                                                           
 *))7                           +)) 
                                                                           ,)-1%22 
 *-+96)                  +)2)6%0 
                                                                           ,)0( 
 *-+96-2+                       +-:) 
                                                                     ,)04*90 
 *-0) 
                                      +0%(           ,)04-2+ 
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                                            ,-+,0):)0 
 *-0-2+                     +3%07                          ,-+,0-+,8 
 *-2%0                           +32>%0)>           ,-+,0-+,87 
                                      
 *-2%00=                                             ,-<32 
 *-2(-2+                    +33(      ,32 
 *-2(7                              ,32)780= 
                                      
 *-2)                                   ,3236 
                                                         
                                      +33+0)        
 *-2-7,)7                                                        
 *-61                            +3:)621)28                      
                                                                           
 *-617                           +6%28)(                         
 *3'97                           +6392(                         
                                                                           
 *30(7                          +6392(;36/                     
 *30/7                       +9%6(6%-07                  ,3236 7 
 *3003;                          +9-(%2')                  ,3236)6 
 *361                                            ,397)/))4-2+ 
                                            ,
                                                                           ,9+) 
 *361%0 
                                      ,%2(                  ,92(6)( 
 *36;%6( 
                        ,%2(0)                           ,92(6)(7 
 *6%2/0=        ,%2(0)(                         ,92+ 
 *6))                        ,%2(0-2+ 
                                                                                           -
 *6-(%=                ,%2(732 
 *900                            ,%44)2                    -()% 



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7SGMEP1IHME'EWIW                                                                                138-32
.''4                      ')68-*-)('34=                              -RHI\-()%7032+

 -()%7                        -2:30:-2+                       /))4-2+ 
 -()28-*-'%8-32          -779)           /)00= 
                                    
 -()28-*=                                              /)= 
                                    
 -(-37=2'6%8-'                    /-((-2+ 
                                    
 -1%+-2)                                                     /-)7)0 
                                   -779)7 
 -14%'8                        
                                                                        /-2( 
                                                                        
 -140-'%8-327                 
                                   -8)1                           /-2(7 
 -14368%28 
                                   -8)17                      /9,0 
 -1463:-()280= 
 -2'09() 
                                                   .                                       0
 -2'09()( 
 -2'09(-2+                   .%                              0% 

 -2'36436%8)                 .%1                              0%((32 

 -2(-:-(9%0                   .%1)7                            0%6% 

 -2*361%0              .%29%6=                         0%6+) 

 -2*361%00=                  .''4        0%6+)0= 

 -2*361%8-32       .)**'388                  0%6+)6 
                                          0%; 
                                   .)22-*)6 
 -2-8-%0                                           
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 -2-8-%8)                    .3-28 
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                                    
 -27-78)(                                                         0)%()67,-4 
                                   .32%8,%2 
 -278%2')                                               0)%62-2+ 
                                   .37)4, 
 -278-2'8                                                          0)%:) 
                                   .9(+) 
 -27869'8-32                  0)%:-2+ 
                                    
 -27869'8-:)                                                      0)2+8,= 
 -28)2(                       .9(+)7 
                                                                        0)88)67 
 -28)28-32                   .9(+1)28 
                                                                        0-%-732 
 -28)6)78      .90= 
                                                                        0-)** 
 -28)6)78)(                  .96-7(-'8-32 
                                                                        0-*8)( 
 -28)6)78-2+                  .96-7(-'8-327 
                                                                        0-/)7 
 -28)6*)6)7                   .96= 
                                                                        0-78 
 -28)6-1               .978-') 
                                                                        0-8-+%8)( 
 -28)62%0                    .978-')7 
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 -28)62%00=         .990 
                                                                        0-8-+%8-32 
 -28)62)8                                                         
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 -2:30:)(                                                     03(+)( 
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7SGMEP1IHME'EWIW                                                                            138-32
.''4                       ')68-*-)('34=                    -RHI\032+)634437)(

 032+)6                        1)(-%836                 2&' 
 033/)(                1))8    2)+0-+)2') 
                                     
 0331                                                            2)+38-%8) 
                                     1))8-2+ 
 037                                                               2)+38-%8-2+ 
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 038                                               2)8;36/7 
                                     1)28-32)( 
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                  1                                                    
                                     1)6-87 
                                                                       232(-7'037)( 
 1%',-2)                       1)77%+) 
                                                                       232(940-'%8-:) 
 1%()                           1)8% 
                                                                       232)8,)0)77 
 1%+-786%8)              1)8% 7 
                                                                 2324%68-)7 
                                     1)8,3( 
 1%-2786)%1                                                      2332 
                                     1-'634,32) 
 1%-28%-2-2+                                                     2368,)62 
                                     1-((%= 
 1%.36-8=                                                          238)( 
                                     1-((0) 
 1%/)                                          238-') 
                                     1-2( 
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                                                                       29 
 1%/)67                        1-2(7 
                                                                       291&)6 
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                                                                       
 1%/-2+      1-236                        

 1%2%+)                  1-298)        291&)67 
 1%2%+)1)28           1-77)( 
                                                                                 3
                                     13(-*-'%8-327 
 1%6',               131)28                      3&.)'8-327 
 1%659)>                        132(%=                      3&0-+%8-32 
 1%78)6          1328,        3&0-+%8-327 
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                                     1328,7                 3&7)6:%8-327 
 1%8)6-%0 
                                     136+%2                     3&:-%8)7 
 1%8)62-8= 
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                                                                       34-2-327 
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7SGMEP1IHME'EWIW                                                                                 138-32
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 348-327                          4)6732%00=                      46)7)28-2+ 
 36()6           4)674)'8-:)          46)7)6:%8-32 
                                
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                                                                            46)7)6:) 
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                                       40%-28-** 
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 36()6-2+                     40%-28-** 7 
                                                                            46-28)(398 
 36()67             40%-28-**7 
                             46-36 
                                       
 36+%2->-2+                                                            46-36-8= 
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 3987-()8,)6)'36(                        46-:%'= 
                                 
                                                                            46-:%8) 
 39878%2(-2+                     40%-28-**7 
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                                                                            463&0)1 
 3:)6&63%( 
                                       40%22-2+                         463&0)17 

                  4                    40%8*3617                       463')(96%0 

                                       40)%(-2+                  463')(96) 
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                                       43-28 
 4%2-7,                                                                
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                                                                            
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                                                                      463'))(-2+7 
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 4%68= 7                         46)*)66%&0) 
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 4%77                            46).9(-') 
                                                                            463*-0) 
 4%90                        46)1%896)                       

 4%=                             46)1%896)0=                    463+6%1 
 4)340)                          46)138-32                      463,-&-87 
 4)6')28                         46)4%6)                         4634368-32%0-8= 
 4)6'30%8-2+                     46)4%6)(                   463437%0 
 4)6*361-2+                      46)7)28               463437) 
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7SGMEP1IHME'EWIW                                                                          138-32
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 46383'30 
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 47)9(32=13970= 
                                     6)*)66)(                    63+)67 
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 7
                              IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
10
     IN RE: SOCIAL MEDIA ADOLESCENT                           MDL No. 3047
11   ADDICTION/PERSONAL INJURY
     PRODUCTS LIABILITY LITIGATION                            CASE NO.: 4:22-md-3047
12
                                                              Honorable Yvonne Gonzalez Rogers
13
     This Document Relates to:                                [PROPOSED] ORDER GRANTING
14                                                            MOTION FOR RELIEF FROM
     ALL ACTIONS                                              NONDISPOSITIVE PRETRIAL
15
                                                              ORDER OF MAGISTRATE JUDGE
16

17            Before the Court is Plaintiffs’ Motion for Relief from Nondispositive Pretrial Order of
18   Magistrate Judge. Dkt. 303. The Court agrees with Plaintiffs that it would be unduly restrictive
19   and unnecessary under the circumstances presented by this products liability action to require
20   Plaintiffs to disclose the identity of their experts, including their consulting experts, to Defendants
21   before sharing documents designated highly confidential. See Corley v. Google, Inc., No. 2016
22   WL 3421402, at *3 (N.D. Cal. June 22, 2016); Johnson v. City and County of San Francisco, 2011
23   WL 13377688, at *1–3 (N.D. Cal. Feb. 9, 2011). The Court further notes that the Parties have
24   agreed to deal with source code, which may require a higher degree of protection, via separate
25   order.
26
27

28                                                            [PROPOSED] ORDER GRANTING MOTION FOR RELIEF
                                                  -1-            FROM NONDISPOSITIVE PRETRIAL ORDER OF M.J.
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 1          Accordingly, the Court STRIKES Section 7.6 of the Protective Order (Dkt. 290). The

 2   Court ORDERS Plaintiffs to refile the Protective Order, replacing the struck language with the

 3   following:

 4          7.6     Documents designated as “HIGHLY CONFIDENTIAL (COMPETITOR)”
            will be treated in the same manner as documents designated “CONFIDENTIAL,”
 5          except that the documents may not be disclosed to the individual Plaintiffs or
            officers, directors, and employees of the Receiving Party (if an entity), including
 6          House Counsel, unless that person otherwise meets the requirements of 7.4(h) or
            (j).
 7

 8   Alternative: The Court ORDERS Plaintiffs to refile the Protective Order, replacing the struck

 9   language with the following:

10          7.6  Procedures for Approving or Objecting to Disclosure of “HIGHLY
            CONFIDENTIAL (COMPETITOR)” Protected Material to Experts. “HIGHLY
11          CONFIDENTIAL (COMPETITOR)” information or items may be disclosed to an
            Expert without disclosure of the identity of the Expert as long as the Expert is not
12          a current officer, director, or employee of a competitor of a Party or anticipated to
            become one.
13

14          IT IS SO ORDERED.

15

16   DATED:
                                            HON. YVONNE GONZALEZ ROGERS
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28                                                           [PROPOSED] ORDER GRANTING MOTION FOR RELIEF
                                                   -2-          FROM NONDISPOSITIVE PRETRIAL ORDER OF M.J.
                                                                                  NO. 4:22-MD-03047-YGR
